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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

  IN RE:                                          §
                                                  §
  CHRIS PETTIT & ASSOCIATES, P.C.                 §       CASE No. 22-50591-CAG
                                                  §
  CHRISTOPHER JOHN PETTIT                         §       CASE No. 22-50592-CAG
                                                  §
  Jointly Administered Debtors 1                  §       CHAPTER 11 PROCEEDINGS
                                                  §       (Jointly Administered Under
                                                  §       Case No. 22-50591-CAG)


      GLOBAL NOTES, METHODOLOGY, & SPECIFIC DISCLOSURES REGARDING
            THE DEBTOR’S SCHEDULES OF ASSETS & LIABILITIES &
                     STATEMENT OF FINANCIAL AFFAIRS
      A. Introduction
      Chris Pettit & Associates PC (the “Debtor” or “Pettit Firm”) with the assistance of its
      advisors, has filed its Schedules of Assets and Liabilities (the “Schedules”) and Statement of
      Financial Affairs (the “SOFA,” and together with the Schedules, the “Schedules and SOFA”)
      with the United States Bankruptcy Court for the Western District of Texas (San Antonio) (the
      “Bankruptcy Court”), under § 521 of title 11 of the United States Code, 11 U.S.C. § 101 et
      seq. (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure
      (the “Bankruptcy Rules”).

      These Global Notes, Methodology, & Specific Disclosures Regarding the Debtor’s
      Schedules of Assets & Liabilities & Statement of Financial Affairs (the “Notes”) pertain to,
      are incorporated by reference in, and compose an integral part of the Schedules and SOFA.
      The Notes should be referred to and considered in connection with any review of the
      Schedules and SOFA.

      The Schedules and SOFA do not represent financial statements prepared according to
      Generally Accepted Accounting Principles in the United States (“GAAP”), nor are they
      intended to be fully reconciled with the financial statements of the Debtor (whether publicly
      filed or otherwise). The Schedules and SOFA contain unaudited information that is subject
      to further review and potential adjustment and reflect the Debtor’s reasonable efforts to
      report the assets and liabilities of the Debtor.




  1The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s Social Security
  Number or Federal Tax Identification Number, as applicable, are: Chris Pettit & Associates, P.C. (1267),
  and Christopher John Pettit (9429). The Debtors’ mailing address is 11 Champions Run, San Antonio, TX
  78258.
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    In preparing the Schedules and SOFA, the Debtor relied on information derived from its
    books and records that was available at the time of such preparation. Although the Debtor
    has made reasonable efforts to ensure the accuracy and completeness of such financial
    information, inadvertent errors or omissions, as well as the discovery of conflicting, revised,
    or subsequent information, may cause a material change to the Schedules and SOFA.

    The Debtor has utilized best efforts to assess and report the information contained in the
    Schedules and SOFA but cannot guarantee or warrant the accuracy or completeness of the
    data provided in the Schedules and SOFA. While the Debtor will attempt to update, modify,
    revise, or recategorize the information provided in the Schedules and SOFA, and to notify
    any third party should the information be updated, modified, revised, or recategorized.
    Debtor’s access to information and resources to complete updates and changes is limited.
    The Debtor, on behalf of itself, its officers, agents, and advisors reserves all rights.

    The Schedules and SOFA have been signed by an authorized agent of the Pettit Firm signing
    the Schedules and SOFA, relying on the efforts, statements, and representations of the
    Debtor’s other agents and professionals. Mr. Pettit has not (and could not have) personally
    verified the accuracy of each such statement and representation, including, for example,
    statements and representations concerning creditors’ addresses, amounts owed to creditors,
    and classification of such amounts. Eric Terry has been appointed as Trustee (“Trustee”) in
    this case on June 22, 2022, and has assumed control over all assets of the Pettit Firm including
    all books and records and computer information. While Terry is making certain information
    available to Pettit to prepare the Schedules, Pettit does not have complete access or necessary
    resources to make a complete and thorough review of all books and records to confirm for
    completeness of the required information or total accuracy of information described herein.

     B. General Notes & Overview of Methodology
         1. Reservation of Rights. The Debtor made reasonable efforts to prepare and file
             complete and accurate Schedules and SOFA. Nevertheless, inadvertent errors or
             omissions may exist. The Debtor reserves all rights to amend or supplement the
             Schedules and SOFA to the extent of Debtor’s limited capacity and ability to do so,
             from time to time, in all respects, as may be necessary or appropriate, including,
             without limitation, the rights to: amend the Schedules and SOFA with respect to any
             claim (“Claim”) description or designation; dispute or otherwise assert offsets or
             defenses to any Claim reflected in the Schedules and SOFA as to amount, liability,
             priority, status, or classification; subsequently designate any Claim as “disputed,”
             “contingent,” or “unliquidated”; or object to the extent, validity, enforceability,
             priority, or avoidability of any Claim. No failure to designate a Claim in the
             Schedules and SOFA as “disputed,” “contingent,” or “unliquidated” shall constitute
             an admission by the Debtor that such Claim or amount is not “disputed,”
             “contingent,” or “unliquidated.” Listing a Claim does not constitute an admission of
             liability by the Debtor. Nothing contained in the Schedules and SOFA constitutes a
             waiver of rights with respect to the Debtor’s chapter 11 case, including, without
             limitation, issues involving Claims, substantive consolidation, defenses, equitable
             subordination, recharacterization, or causes of action arising under the provisions of
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           chapter 5 of the Bankruptcy Code or any other laws regarding recovery of assets or
           avoidance of transfers. No specific reservation of rights contained elsewhere in the
           Notes limits the general reservation of rights contained in this paragraph.

           The listing in the Schedules or SOFA by the Debtor of any obligation of the Debtor
           reflects what appears available in limited access to the Debtor’s books and records
           and is not an admission or conclusion by the Debtor regarding whether such amount
           should or would be allowed as a Claim or how such obligations may be classified or
           characterized in a plan of reorganization or by the Bankruptcy Court.

           Debtor continues to assemble claim information and acknowledges that the listing of
           claims is incomplete. Debtor is attempting to work with Trustee to assemble all claim
           information - but because Debtor maintained four different offices with no one
           system reflecting claims or potential claims, and since there may be a variety of
           different claims ranging from general creditors, to clients, to providers and to “trust”
           clients claims, a complete listing cannot be provided at this time, while further efforts
           to complete all “client lists” is being made.

        2. Description of Case. On October 1, 2021 (the “Petition Date”), the Debtor filed a
           voluntary petition for relief under chapter 11 of the Bankruptcy Code, electing to
           proceed under chapter 11. The Debtor continued to manage its financial affairs as
           debtor in possession under Bankruptcy Code § 1184 until Trustee’s appointment.

        3. Net Book Value of Assets. Debtor’s principle assets consisting of cash deposits,
           receivables and claims against various parties is not ready subject to a fair market
           value interpretation. Debtor has used best efforts to set forth such values which
           may vary considerably from actual values.

        4. Recharacterization. Despite the Debtor’s reasonable efforts to properly
           characterize, classify, categorize, or designate certain Claims, assets, and other
           items reported in the Schedules and SOFA, the Debtor may have improperly
           characterized, classified, categorized, designated, or omitted certain items. The
           Debtor accordingly reserves its rights to recharacterize, reclassify, recategorize,
           redesignate, add, or delete items reported in the Schedules and SOFA as necessary
           or appropriate, as additional information becomes available.

        5. Excluded Assets & Liabilities. The Debtor has sought to allocate liabilities
           between the prepetition and postpetition periods based on the information and
           research conducted in connection with the preparation of the Schedules and SOFA.
           As additional information becomes available and further research is conducted, the
           allocation of liabilities between the prepetition and postpetition periods may
           change.

           The liabilities listed on the Schedules do not reflect any analysis of Claims under
           Bankruptcy Code § 503(b)(9). Accordingly, the Debtor reserves its rights to dispute
           or challenge the validity of any such Claims or any characterization of the structure
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           of any such transaction or any document or instrument related to any Claim. As
           mentioned above, Debtor is attempting to work with the Trustee to assemble
           “claim” information, and will attempt to supplement once additional information is
           available.

           The Debtor has excluded certain categories of assets, tax accruals, and liabilities
           from the Schedules and SOFA, including, without limitation, deferred gains. In
           addition, certain immaterial assets and liabilities may have been excluded.
        6. Insiders. Solely for purposes of the Schedules and SOFA, the Debtor defines
           “insiders” to include the following: (a) manager; (b) equity holders holding more
           than 10% of the equity of the Debtor entity; (d) the Debtor’s affiliates; and (e)
           relatives of any of the foregoing (to the extent known by the Debtor). Entities have
           been listed as “insiders” for informational purposes only and their inclusion is not
           an admission that any such entity is an insider for purposes of Bankruptcy Code §
           101(31).

        7. Intellectual Property Rights. The exclusion of any intellectual property right does
           not constitute an admission that such intellectual property right has been
           abandoned, terminated, assigned, expired by its terms, or otherwise transferred
           under a sale, acquisition, or other transaction. Conversely, inclusion of any
           intellectual property right does not constitute an admission that such intellectual
           property right has not been abandoned, terminated, assigned, expired by its terms,
           or otherwise transferred under a sale, acquisition, or other transaction.

        8. Executory Contracts & Unexpired Leases. The Debtor made diligent attempts to
           include all of its executory contracts and unexpired lease obligations on Schedule G.
           Nevertheless, the Debtor may have inadvertently failed to list them all. Nothing in the
           Schedules or SOFA is an admission or determination as to the legal status of any
           executory contract or lease, including whether a lease is a true lease or a financing
           arrangement. Nor does any such listing of executory contracts and unexpired leases
           reflect the Debtor’s determination of whether to assume and assign or to reject such
           contract or lease.

        9. Materialman’s & Mechanic’s Liens. The assets listed in the Schedules and SOFA
           are presented without consideration of any materialman’s and mechanic’s liens that
           may exist.

        10. Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b)
           Schedule E/F as “priority,” (c) Schedule E/F part 2 as “unsecured,” or (d) Schedule
           G as “executory” or “unexpired,” does not constitute an admission by the Debtor
           of the legal rights of the claimant, or a waiver of the Debtor’s rights to
           recharacterize or reclassify such Claims or contracts or leases, or to effect setoffs
           against such Claims.
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        11. Claims Description. Schedules D and E/F permit the Debtor to designate a Claim
           as “disputed,” “contingent,” and “unliquidated.” Any failure to designate a Claim
           on a Debtor’s Schedules and SOFA as “disputed,” “contingent,” or “unliquidated”
           does not constitute an admission by that Debtor that such amount is not “disputed,”
           “contingent,” or “unliquidated,” or that such Claim is not subject to objection.
           Moreover, listing a Claim does not constitute an admission of liability by the
           Debtor.


        12. Causes of Action. Despite its reasonable efforts to identify all known assets, the
           Debtor may not have listed all of its causes of action or potential causes of action
           against third parties as assets in the Schedules and SOFA, including, without
           limitation, causes of actions arising under the provisions of chapter 5 of the
           Bankruptcy Code and any other laws regarding recovery of assets or avoidance of
           transfers. The Debtor reserves all of its rights with respect to any cause of action
           (including avoidance actions), controversy, right of setoff, cross-claim,
           counterclaim, or recoupment, and any Claim on contracts or for breaches of duties
           imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit,
           obligation, liability, damage, judgment, account, defense, power, privilege, license,
           and franchise of any kind or character whatsoever, known, unknown, fixed or
           contingent, matured or unmatured, suspected or unsuspected, liquidated or
           unliquidated, disputed or undisputed, secured or unsecured, assertible directly or
           derivatively, whether arising before, on, or after the Petition Date, in contract or in
           tort, in law, or in equity, or under any other theory of law (collectively, “Causes of
           Action”) the Debtor may have, and neither these Notes nor the Schedules and SOFA
           may be deemed a waiver of any Claims or Causes of Action or in any way prejudice
           or impair the assertion of such Claims or Causes of Action.

        13. Summary of Significant Reporting Policies. The following is a summary of
            significant reporting policies:

               a. Undetermined Amounts. The description of an amount as
                   “unknown,” “TBD,” or “undetermined” is not intended to reflect the
                   materiality of such amount.
               b. Totals. All totals included in the Schedules and SOFA represent
                   totals of all known amounts. To the extent there are unknown or
                   undetermined amounts, the actual total may differ from the listed
                   total.
               c. Liens. Property and equipment listed in the Schedules and SOFA
                   are presented without consideration of any liens that may attach (or
                   have attached) to such property and equipment.

        14. Estimates & Assumptions. Because of the timing of the filing, Debtor was required
            to make certain estimates and assumptions that affected the reported amounts of
            these assets and liabilities. Actual amounts may materially differ from those
            estimates.
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        15. Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

        16. Setoffs. The Debtor incurs certain offsets and other similar rights. Offsets in the
            ordinary course can result from various items, including, without limitation, pricing
            discrepancies, returns, refunds, warranties, debit memos, credits, and other disputes
            between the Debtor and its suppliers and customers. These offsets and other similar
            rights are consistent with the ordinary course of business and are not tracked
            separately. Therefore, although such offsets and other similar rights may have been
            accounted for when certain amounts were included in the Schedules, offsets are not
            independently accounted for, and as such, are or may be excluded from the
            Schedules and SOFA.

        17. Notes Control. If the Schedules and SOFA differ from the Notes, the Notes control.
     C. Specific Disclosures with Respect to the Schedules

        1. Creditor Addresses. Creditor addresses not listed in the Debtor’s schedules may
            be in the official creditor matrix filed with the Court. Debtor continues to review
            records in search of creditor addresses.

        2. Schedule A/B 7: Dollar amounts are presented net of accumulated depreciation and
            other adjustments.

        3. Schedule A/B 9: Real Property. The Debtor has listed no real property owned by
            Debtor in Schedule A/B. All real property occupied by Debtor was “leased.”


     D. Specific Disclosures with Respect to the SOFA

        1. SOFA #1: Income. Debtors have listed gross revenue based upon filed tax returns
            for 2020. The 2021 tax returns have not been filed and an extension of time to file
            tax return has been submitted, consequently the information shown for 2021
            represents an estimate of gross revenue and may be inconsistent with the amount
            reflected within the filed tax return. The current 2022 to date of filing gross revenue
            information was taken from deposits made into Debtor’s bank accounts for January
            – May 31, 2022, which may include funds that do not constitute Debtor’s actual
            income.

        2. SOFA #4: Payments or other transfers of property made within 1 year before
            filing this case that benefited any insider. Debtor is attempting to identify all
            transfers made within 1 year – but has limited access to required information. Debtor
            has attempted to list all transfers made prior to the Petition Date. Debtor will disclose
            upon determination any undisclosed transfer has occurred once information is
            available.
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                                                139
 Fill in this information to identify the case
 Debtor name          Chris Pettit & Associates, P.C.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number          22-50591
 (if known)                                                                                                          Check if this is an
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Checking account - Wells Fargo - TX IOLTA
        Account                                                       Checking account                    9   7   2     0                   $4,333.87
3.2.    Checking account - Wells Fargo                                Checking account                    9   7   4     6                    $198.67
3.3.    Checking account - Wells Fargo - NM IOLTA
        Account                                                       Checking account                    9   1   7     4                   ($639.52)
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                            $3,893.02


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor       Chris Pettit & Associates, P.C.                                               Case number (if known)     22-50591
             Name

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
     Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                $0.00


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable

11a. 90 days old or less:              $1.00               –                 $0.00                  = .......................
                                                                                                                                               $1.00
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:                 $1.00               –                 $0.00                  = .......................
                                                                                                                                               $1.00
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                $2.00


 Part 4: Investments

13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes. Fill in the information below.
                                                                                            Valuation method                    Current value of
                                                                                            used for current value              debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                 % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

         Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                   page 2
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Debtor       Chris Pettit & Associates, P.C.                                         Case number (if known)     22-50591
             Name

     General description                         Date of the     Net book value of     Valuation method             Current value of
                                                 last physical   debtor's interest     used for current value       debtor's interest
                                                 inventory       (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                    $0.00

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes. Fill in the information below.

     General description                                         Net book value of     Valuation method             Current value of
                                                                 debtor's interest     used for current value       debtor's interest
                                                                 (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                    $0.00

34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor's property stored at the cooperative?
               No
               Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                       page 3
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Debtor       Chris Pettit & Associates, P.C.                                              Case number (if known)    22-50591
             Name


 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes. Fill in the information below.

     General description                                            Net book value of      Valuation method             Current value of
                                                                    debtor's interest      used for current value       debtor's interest
                                                                    (Where available)
39. Office furniture

     Debtor leases all offices and equipment from
     Chris Pettit                                                                 $0.00    FMV                                     Unknown
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                        $0.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes
 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes. Fill in the information below.

     General description                                            Net book value of      Valuation method             Current value of
     Include year, make, model, and identification numbers          debtor's interest      used for current value       debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                        $0.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                           page 4
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Debtor        Chris Pettit & Associates, P.C.                                            Case number (if known)    22-50591
              Name


 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.


55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent      Net book value of     Valuation method       Current value of
       Include street address or other description    of debtor's interest   debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),          in property            (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 13111 Huebner Road, San Antonio,
       TX 78230                                       Lease                                                                          Unknown
55.2. 11902 Rustic Lane, San Antonio, TX              Lease                                                                          Unknown
55.3. 11923 Rustic Lane, San Antonio, TX              Lease                                                                          Unknown
55.4. 4118 Honecomb, San Antonio, TX                  Lease                                                                          Unknown
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                          $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                          $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes

Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                            page 5
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             Name

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes. Fill in the information below.

                                                                                                                      Current value of
                                                                                                                      debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

     Flatbay Capital - Amount Requested- Unknown                                                                                 Unknown
     Nature of claim             Fraud, breach of contract
     Amount requested            $0.00

     Robert Walsh - Amount Requested - Unknown                                                                                   Unknown
     Nature of claim             Removal of files, fraud, defamation
     Amount requested


     Shayla San Miguel Astin - Amount Requested - Unknown                                                                        Unknown
     Nature of claim             Removal of files, fraud, defamation
     Amount requested


     Paul and Wendy Black - Amount Requested - Unknown                                                                           Unknown
     Nature of claim             Recovery of advances/liens
     Amount requested


     Paul Patrick Black Heritage Trust - Amount Requested - Unknown                                                              Unknown
     Nature of claim             Recovery of advances/liens
     Amount requested


     Black Oil Trust - Amount Requested - Unknown                                                                                Unknown
     Nature of claim             Recovery of advances/liens
     Amount requested


     Stephanie Walsh - Amount Requested - Unknown                                                                                Unknown
     Nature of claim             Removal of files/defamation
     Amount requested




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                        page 6
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             Name

     Brandan Walsh - Amount Requested - Unknown                                                                             Unknown
     Nature of claim           Removal of files/defamation
     Amount requested


     Dr. Salvador Ortiz                                                                                                 $13,800,000.00
     Nature of claim           Recovery of transfer
     Amount requested          $13,800,000.00

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

     Debtor owns various/numerous case and client files which were in different stages of
     completion - including new service, cases prior to litigation and cases in settlement - with
     unknown value                                                                                                              $1.00
78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                        $13,800,001.00

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                         Schedule A/B: Assets -- Real and Personal Property                                  page 7
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                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                             Current value of                              Current value of
                                                                                   personal property                             real property


80. Cash, cash equivalents, and financial assets.                                              $3,893.02
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $2.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                       $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                              $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................
                                                                                                                                            $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +   $13,800,001.00

91. Total. Add lines 80 through 90 for each column.                        91a.       $13,803,896.02             +     91b.                  $0.00



                                                                                                                                                              $13,803,896.02
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                       page 8
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 Fill in this information to identify the case:
 Debtor name          Chris Pettit & Associates, P.C.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number          22-50591                                                                                    Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Counsel Financial                                subject to a lien                                 $4,000,000.00                     $1.00

          Creditor's mailing address                       lien on receivables/recoveries in litigation recov
          c/o Randall A. Pulman                            Describe the lien
          Pulman, Cappuccio & Pullen, LLP                  Agreement
          2161 NW Military Highway, Ste. 400               Is the creditor an insider or related party?
          San Antonio                TX     78213           No
          Creditor's email address, if known                Yes
                                                           Is anyone else liable on this claim?
          Date debt was incurred          11/18/2020        No
          Last 4 digits of account                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                  Contingent

             No                                              Unliquidated

             Yes. Specify each creditor, including this      Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                              $4,000,000.00


Official Form 206D                           Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
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 Fill in this information to identify the case:
 Debtor              Chris Pettit & Associates, P.C.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number         22-50591                                                                                 Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the                    $0.00              $0.00
                                                                claim is: Check all that apply.
Bexar County Tax Assessor-Collector
P.O.Box 2903                                                       Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
San Antonio                           TX      78299-2903        Notice Only
Date or dates debt was incurred
                                                                Is the claim subject to offset?

Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



     2.2   Priority creditor's name and mailing address         As of the petition filing date, the                    $0.00              $0.00
                                                                claim is: Check all that apply.
INTERNAL REVENUE SERVICE
Special Procedures - Insolvency                                    Contingent
                                                                   Unliquidated
P.O. BOX 21126                                                     Disputed

                                                                Basis for the claim:
PHILADELPHIA                          PA      19114             Notice Only
Date or dates debt was incurred
                                                                Is the claim subject to offset?

Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim       Priority amount


  2.3    Priority creditor's name and mailing address       As of the petition filing date, the               Unknown         Unknown
                                                            claim is: Check all that apply.
Texas Comptroller of Public Accounts
P.O. Box 13528                                                 Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
Austin                             TX      78711-3528       Notice Only
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



  2.4    Priority creditor's name and mailing address       As of the petition filing date, the                  $0.00             $0.00
                                                            claim is: Check all that apply.
U.S. Attorney's Office
601 Northwest Loop 410, #600                                   Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
San Antonio                        TX      78216            Notice Only
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     ) Administrative Priority




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                        page 2
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 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $42,967.00
                                                                   Check all that apply.
1st Choice Treatment Clinic                                         Contingent
6300 Gateway E.                                                     Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
El Paso                                  TX       79905            MEDICAL PROVIDER

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.2    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $2,700.00
                                                                   Check all that apply.
A New You                                                           Contingent
154 N. Festival Drive, Villa F                                      Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
El Paso                                  TX       79912            MEDICAL PROVIDER

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.3    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $1,360.00
                                                                   Check all that apply.
ACHE Institute of Laredo                                            Contingent
8511 MacPherson                                                     Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Laredo                                   TX       78045            MEDICAL PROVIDER

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.4    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $6,150.00
                                                                   Check all that apply.
Advanced Injury and Rehab                                           Contingent
7127 Somerset Road                                                  Unliquidated
Suite 101                                                           Disputed
                                                                   Basis for the claim:
San Antonio                              TX       78211            MEDICAL PROVIDER

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3
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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Albert Cardenas Trust                                            Contingent
c/o Jesus and Elena Cardenas                                     Unliquidated
187 Olga, San Antonio, TX 78237                                  Disputed
                                                                Basis for the claim:
                                                                ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,243,949.58
                                                                Check all that apply.
Alberto Rodriguez                                                Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Alek Alvarado                                                    Contingent
14060 Volcanic Rock                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79938           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Alfredo Prieto                                                   Contingent
3705 Santa Rita                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laredo                                 TX       78041           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $800.00
                                                                Check all that apply.
American Health Imaging                                          Contingent
8627 Cinnamon Creek                                              Unliquidated
Building 2                                                       Disputed
                                                                Basis for the claim:
San Antonio                            TX       78240           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $892.50
                                                                Check all that apply.
American Medical Response AMBU-AMR                               Contingent
P.O. Box 56141                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Los Angeles                            CA       90074-6141      MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Amy Pridgen                                                      Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.12     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Andres Ramirez                                                   Contingent
9734 Lindrith                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Helotes                                TX       78023           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.13     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Angel Flores                                                     Contingent
1657 Dick Ritter                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79936           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Angel Gonzalez                                                   Contingent
9947 Kelton                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78250           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Angelita Vossler                                                 Contingent
2222 Saxon                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77018           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Arlene Becker                                                    Contingent
504 Schweppe Street                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Boerne                                 TX       78006           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.17     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Arlene Kreitz Hengst Trust                                       Contingent
15611 Thrush Gate Lane                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78248           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.18     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Armando Gonzalez                                                 Contingent
2302 Zaragoza St.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laredo                                 TX       78040           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.19     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $249.00
                                                                Check all that apply.
ASP Cares Pharmacy                                               Contingent
201 E. Jackson Ave.                                              Unliquidated
Suite B                                                          Disputed
                                                                Basis for the claim:
Harlingen                              TX       78550           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.20     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Augustine Farias                                                 Contingent
12930 Park Crossing Dr.                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78217           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.21     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $22,797.00
                                                                Check all that apply.
Bank of America                                                  Contingent
P.O. Box 982238                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79998           Credit Card

Date or dates debt was incurred      12/04/1996                 Is the claim subject to offset?

Last 4 digits of account number       x     x    x   x
                                                                 No
                                                                 Yes

  3.22     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $11,120.00
                                                                Check all that apply.
Baptist Hospital                                                 Contingent
806 Cupples                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78237           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.23     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Barbara Fuller                                                   Contingent
6870 Heuemann Rd., Apt. 7003                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78256-9657      ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.24     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $64,990.77
                                                                Check all that apply.
Barbara Morales                                                  Contingent
143 Summertime Drive                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78216           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.25     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Belinda Stanush                                                  Contingent
321 Blue Bonnet Blvd.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78209-4632      ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.26     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $481,228.79
                                                                Check all that apply.
Betty June Krahn                                                 Contingent
6870 Heuermass Road                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78256           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.27     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,301,778.79
                                                                Check all that apply.
Betty N. Nelson                                                  Contingent
11639-2 Bolero Circle                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.28     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,793.00
                                                                Check all that apply.
Bluff Creek Emergency Medicine Associate                         Contingent
P.O. Box 731587                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75373           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.29     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $242,000.00
                                                                Check all that apply.
Brady Wise                                                       Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.30     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $167,509.98
                                                                Check all that apply.
Brenda Nickels Living Trust                                      Contingent
Brenda Kay Nickles, Trustee                                      Unliquidated
2606 Indian Ridge Drive                                          Disputed
                                                                Basis for the claim:
San Antonio                            TX       78231           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.31     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Brenda O'Brien                                                   Contingent
205 West St.                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bayside                                TX       78340           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.32     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,186,633.31
                                                                Check all that apply.
Bruce H. Bengel                                                  Contingent
5502 Pioneer Creek                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78245           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.33     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Carol Melott                                                     Contingent
27933 Bonnn Mountain Street                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78260           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.34     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $482,496.85
                                                                Check all that apply.
Carolyn Oglesby                                                  Contingent
The Legacy at Falcon Point                                       Unliquidated
1520 Katy Gap Rd., Room 208                                      Disputed
                                                                Basis for the claim:
Katy                                   TX       77494           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.35     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Catherine Martinez                                               Contingent
809 Crystal                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78211           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.36     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $9,668.00
                                                                Check all that apply.
Central Laredo Pain & Recovery                                   Contingent
8511 McPherson Road                                              Unliquidated
Suite 208                                                        Disputed
                                                                Basis for the claim:
Laredo                                 TX       70845           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.37     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $14,532.80
                                                                Check all that apply.
Central Laredo Wellness Center                                   Contingent
8115 McPherson Road                                              Unliquidated
Suite 208                                                        Disputed
                                                                Basis for the claim:
Laredo                                 TX       78045           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.38     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Charles Koch                                                     Contingent
870 Lorikeet Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
New Braunfels                          TX       78132           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.39     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Charmaigne Benson                                                Contingent
1025 Trail Court                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mandeville                             LA       70448           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.40     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,825.00
                                                                Check all that apply.
Chiro Care (Potranco)                                            Contingent
9902 Potranco Rd.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78251           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.41     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $10,846.00
                                                                Check all that apply.
ChiroCare Injury Rehab                                           Contingent
4804 Research Dr.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78240           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.42     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $960.00
                                                                Check all that apply.
Chrio Care                                                       Contingent
4804 Research Dr.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78240           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.43     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $357,082.56
                                                                Check all that apply.
Christine Dailey                                                 Contingent
c/o William C. Dailey, Jr.                                       Unliquidated
18640 Knollwood Blvd.                                            Disputed
                                                                Basis for the claim:
Monument                               CO       80132           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.44     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Christine McQueary                                               Contingent
13514 Carlton Oaks                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78232           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.45     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Christopher Eardley                                              Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.46     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,190,509.18
                                                                Check all that apply.
Christopher Jean-Caude Pettit                                    Contingent
Irrevocable Trust                                                Unliquidated
11902 Rustic Lane                                                Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.47     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Chrystal Simental                                                Contingent
2469 Kari Anne                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Horizon City                           TX       79928           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.48     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $409.00
                                                                Check all that apply.
Concord Medical Group of Texas (Equian)                          Contingent
P.O. Box 734771                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60673-1293      MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.49     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $32,000.00
                                                                Check all that apply.
Connie F. Gonzales                                               Contingent
11200 Perrin Bietel Rd., #123                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78217           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.50     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $12,102.00
                                                                Check all that apply.
Consultants in Pain Medicine                                     Contingent
5364 Frederiksburg Road, Ste. 100                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78229-6107      MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.51     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Counsel Financial                                                Contingent
500 Pearl Street                                                 Unliquidated
Suite 820                                                        Disputed
                                                                Basis for the claim:
Buffalo                                NY       14202           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.52     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,514.50
                                                                Check all that apply.
Crown Chiropractic                                               Contingent
2401 N. Arkansas Ave.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laredo                                 TX       78043           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.53     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dan and Diana Ibarra Mendez                                      Contingent
2313 Lockhill Selma Rd.                                          Unliquidated
Suite 253                                                        Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.54     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $407,505.76
                                                                Check all that apply.
David and Helen Landman                                          Contingent
1951 Carrizo Gorge Rd.                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Jacumba                                CA       91934           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.55     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
David Day                                                        Contingent
P.O. Box 276546                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78227-6546      ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.56     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Deaja Reaves                                                     Contingent
6031 Reef Ridge                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78242           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.57     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $974,050.00
                                                                Check all that apply.
Deidre Persyn                                                    Contingent
13980 Tobiano Trail                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Helotes                                TX       78023-2836      ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.58     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Diane P. Hengst                                                  Contingent
15611 Thrush Gate Lane                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78248           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.59     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $10,558.00
                                                                Check all that apply.
Doctors Hospital - Laredo                                        Contingent
10700 McPherson Road                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laredo                                 TX       78045           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.60     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $3,119.00
                                                                Check all that apply.
Doctors Hospital Emergency Room                                  Contingent
1300 E. Saunders Street                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laredo                                 TX       78040-2510      MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.61     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $3,100.00
                                                                Check all that apply.
Dr. Bratislav Velimirovic                                        Contingent
11331 James Watt Drive                                           Unliquidated
Suite 300A                                                       Disputed
                                                                Basis for the claim:
El Paso                                TX       79936           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.62     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $3,400.00
                                                                Check all that apply.
Dr. Mauricio Garcia Jaques                                       Contingent
8511 MacPherson                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laredo                                 TX       78045           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.63     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $826,626.47
                                                                Check all that apply.
Dr. Robbie W. Henwood                                            Contingent
6315 Pickering                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78238           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.64     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dr. Salvador Ortiz                                               Contingent
29719 No Le Hace Drive                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Fair Oaks Ranch                        TX       78015           Notice Only

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.65     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,112,769.15
                                                                Check all that apply.
Dwight Marshall                                                  Contingent
P.O. Box 263                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Refugio                                TX       78377           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.66     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,064,274.45
                                                                Check all that apply.
Eddie and Lou Ann Dreamkowski                                    Contingent
427 Scotty                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78227           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.67     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Edie Tyler                                                       Contingent
12312 Edwards Hollow Run                                         Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Austin                                 TX       78739           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.68     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $2,674.00
                                                                Check all that apply.
El Paso Ortho Group                                              Contingent
3100 Lee Trevino Drive                                           Unliquidated
Suite B                                                          Disputed
                                                                Basis for the claim:
El Paso                                TX       79936           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.69     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,517.00
                                                                Check all that apply.
EMBCC-ER Doc/Ldo Med Ctr                                         Contingent
4849 Greenville Ave., #400                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75206           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.70     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $8,717.92
                                                                Check all that apply.
Emily Samuel Special Needs Trust                                 Contingent
Emily Samuel                                                     Unliquidated
6211 Panorama Vista Drive                                        Disputed
                                                                Basis for the claim:
Austin                                 TX       78735           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.71     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $271.71
                                                                Check all that apply.
Equian                                                           Contingent
P.O. Box 32100                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Louisville                             KY       40233           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.72     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ernesto Chacon                                                   Contingent
3817 Loma Brisa                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79938           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.73     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Estrada Factor                                                   Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.74     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Eva Corbo                                                        Contingent
2702 Prague                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.75     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $574,670.16
                                                                Check all that apply.
Felicia C. Morales                                               Contingent
4975 View Drive                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78228           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.76     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $174,670.16
                                                                Check all that apply.
Felicia C. Morales                                               Contingent
4975 View Drive                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78228           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.77     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Fernando R. Sanchez                                              Contingent
4600 Lorenzo Ponce Dr.                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79938           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.78     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,545.84
                                                                Check all that apply.
FootHill Medical Center                                          Contingent
3530 Foothill Rd                                                 Unliquidated
Suite N                                                          Disputed
                                                                Basis for the claim:
Las Cruces                             NM       88011           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.79     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $14,438,183.00
                                                                Check all that apply.
Frank & Emma Persyn Family Ltd. P.                               Contingent
c/o Leslie Ann Persyn                                            Unliquidated
7607 UTSA Drive                                                  Disputed
                                                                Basis for the claim:
San Antonio                            TX       78249           Agreed Final Judgment

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.80     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:               $2,638,342.35
                                                                Check all that apply.
Frank G.Persyn, Jr.                                              Contingent
6106 Ridge Arbor                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78250           Agreed Final Judgment

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.81     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Galen Lee                                                        Contingent
27933 Bonn Mountain Street                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78260           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.82     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Gary Archer                                                      Contingent
226 Colwyn Pass                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78216           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.83     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Gemaro Garcia                                                    Contingent
4638 Riverlake Dr.                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laredo                                 TX       78046           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.84     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,550,208.98
                                                                Check all that apply.
George Pilgrim                                                   Contingent
Pilgrim Mortgage, LLC                                            Unliquidated
1270 North Loop 1604 East                                        Disputed
Suite 1101                                                      Basis for the claim:
San Antonio                            TX       78232           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.85     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Gladys Stein Estate                                              Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.86     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Gordon & Wendy Kuenemann                                         Contingent
409 Riviera Dr.                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Canyon Lake                            TX       78133           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.87     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Harley Elizondo                                                  Contingent
226 Woley Dr.                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78228           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.88     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $7,883.00
                                                                Check all that apply.
Hector X. Samaniego, Jr., M.D., P.A.                             Contingent
4257 NW Loop 410                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78229           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.89     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,481,300.33
                                                                Check all that apply.
Henry J. Persyn                                                  Contingent
8788 Reed Road                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78251           Agreed Final Judgment

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.90     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Hughes Estate                                                    Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.91     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $90,000.00
                                                                Check all that apply.
IRM Capital, LLC                                                 Contingent
3 Bridgewater Court                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Jackson                                NJ       08527           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.92     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $629,329.02
                                                                Check all that apply.
Irma Castiglione and Eddie Molina                                Contingent
417 E. Wright Blvd.                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Universal City                         TX       78148           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.93     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Irma Guajardo                                                    Contingent
539 W. Highland Blvd.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78210           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.94     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $319,711.54
                                                                Check all that apply.
Jacqueline Rios                                                  Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.95     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $751,554.90
                                                                Check all that apply.
Jacquie Brown                                                    Contingent
7048 Via Blanca                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Jose                               CA       95139           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.96     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $540,199.03
                                                                Check all that apply.
James and Adelmire Nolte                                         Contingent
2048 Martinez Road                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Yoakum                                 TX       77995           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.97     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,154,199.47
                                                                Check all that apply.
James and Carol Armstrong                                        Contingent
6723 Lake Cliff Street                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78244           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.98     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
James C. Horan                                                   Contingent
19 Angel Dove Pl.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
The Woodlands                          TX       77382-2730      Notice Only

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.99     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Jamie Spears Montelongo                                          Contingent
1907 Town Oak Drive                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78232           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.100    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $507,790.97
                                                                Check all that apply.
Jason & Ashley Forsyth                                           Contingent
3258 Bending Creek                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78261           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.101    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $127,540.11
                                                                Check all that apply.
Jeff Halay                                                       Contingent
15300 CR 261C                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Nathrop                                CO       81236           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.102    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jeneva Bruce                                                     Contingent
P.O. Box 1732                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Gonzales                               TX       78629           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.103    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jesus Guerra Cortez                                              Contingent
532 Morales                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laredo                                 TX       78046           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.104    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Joann Coleman                                                    Contingent
358 Gazella                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78213           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.105    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jose Morales Diaz                                                Contingent
1020 California Avenue                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Las Cruces                             NM       88001           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.106    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jose Zuniga Linares                                              Contingent
615 Blue Ridge Dr.                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78228           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.107    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Juan Garza                                                       Contingent
4409 N. Seymour                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laredo                                 TX       78041           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.108    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Judy Ventura                                                     Contingent
10617 Springwood Dr. Apt. B                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79935           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.109    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Justin Burger                                                    Contingent
10 Andover Creek Dr.                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78254           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.110    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $350,000.00
                                                                Check all that apply.
Justin Hebert                                                    Contingent
15315 Gilligan Cour                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Winter Park                            FL       34787           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.111    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Karen Hengst May                                                 Contingent
3429 Estes Park Lane                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
McKinney                               TX       75070           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.112    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Karen Seifert                                                    Contingent
15608 Fair Lane                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Selma                                  TX       78154           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.113    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $311,053.11
                                                                Check all that apply.
Kathryn Dailey                                                   Contingent
c/o William C. Dailey, Jr.                                       Unliquidated
18640 Knollwood Blvd.                                            Disputed
                                                                Basis for the claim:
Monument                               CO       80132           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.114    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $494,182.84
                                                                Check all that apply.
Ken & Shelli Scott                                               Contingent
2702 Prague                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.115    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Ken and Joyce Locke                                              Contingent
3303 Sable Creek                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78259           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.116    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Kenneth Scott                                                    Contingent
2702 Prague                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.117    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,340,852.15
                                                                Check all that apply.
Kenneth W. Paris                                                 Contingent
11495 FM 443                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Shiner                                 TX       77984-6337      ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.118    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Krystal Garza                                                    Contingent
601 Walton Avenue                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Jourdanton                             TX       78026           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.119    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $3,034.00
                                                                Check all that apply.
Laredo Emergency Med ASC PA                                      Contingent
P.O. Box 1299                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78295-1299      MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.120    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $408.50
                                                                Check all that apply.
Laredo EMS                                                       Contingent
P.O. Box 2337                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laredo                                 TX       78044           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.121    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $7,364.97
                                                                Check all that apply.
Laredo Medical Center                                            Contingent
1700 East Saunders St.                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laredo                                 TX       78041           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.122    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,540.00
                                                                Check all that apply.
Las Cruces Emergency Med. Assoc.                                 Contingent
P.O. Box 57910                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Jacksonville                           FL       32241-7910      MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.123    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $2,132.50
                                                                Check all that apply.
Las Cruces Pain & Rehab                                          Contingent
755 S. Telshor Blvd.                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Las Cruces                             NM       88011           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.124    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $7,107.50
                                                                Check all that apply.
Las Cruces Pain and Rehab                                        Contingent
532 N. Telshor                                                   Unliquidated
Suite A                                                          Disputed
                                                                Basis for the claim:
Las Cruces                             NM       88011           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.125    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,523,482.80
                                                                Check all that apply.
Laura Kubesh                                                     Contingent
30860 Venturer                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Fair Oaks Ranch                        TX       78015           Agreed Final Judgment

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.126    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Lawrence Wayne Hengst                                            Contingent
210 E. Sonterra Blvd., Apt. 919                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78258           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.127    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Lee Skinner                                                      Contingent
2792 W. Peppercorn Circle                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Taylorsville                           UT       84129           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.128    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,300.00
                                                                Check all that apply.
Legent Hospital of El Paso                                       Contingent
1416 George Deter Drive                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79936           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.129    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $41,000.00
                                                                Check all that apply.
Legent Orthopaedic & Spine                                       Contingent
5330 North Loop 1604 W. Acc. Road                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78249           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.130    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,303,746.52
                                                                Check all that apply.
Leslie Ann Persyn                                                Contingent
7607 UTSA Drive                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78249           Agreed Final Judgment

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.131    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $559,634.90
                                                                Check all that apply.
Libertas                                                         Contingent
382 Greenwich Avenue                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Greenwich                              CT       06830           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.132    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $494,717.89
                                                                Check all that apply.
Linda Bausch Nickels                                             Contingent
P.O. Box 747                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
McQueeny                               TX       78123           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.133    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $316,914.18
                                                                Check all that apply.
Linda Mae Wehmeyer                                               Contingent
5708 Goldstone Court                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mustang                                OK       73064           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.134    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $146,450.71
                                                                Check all that apply.
Linda Wetz                                                       Contingent
173 Laura Drive                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Martin                                 GA       30557           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.135    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Louise Lacari                                                    Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.136    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,237,678.17
                                                                Check all that apply.
Luis and Maxine Elizondo                                         Contingent
519 Paschal St.                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78212           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.137    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Luis Torres Maldonado                                            Contingent
311 W. Sayers Ave.                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78214           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.138    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
M&M Marble                                                       Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.139    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $535,248.22
                                                                Check all that apply.
Malcolm R. Gildart Irrevocable Trust                             Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.140    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,112,769.15
                                                                Check all that apply.
Manfred Lee Marshall                                             Contingent
4318 Wolf Creek Court                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Corpus Christi                         TX       78410           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.141    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Maquir Escobar                                                   Contingent
614 Mauze Dr.                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78216           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.142    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Maria Rodriguez De Esparza                                       Contingent
624 Valeria Loop                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laredo                                 TX       78046           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.143    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,860,000.00
                                                                Check all that apply.
Mark and Robin Verstuyft                                         Contingent
13235 Watson Road                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Von Ormy                               TX       78073           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.144    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Mary Jane Staudt                                                 Contingent
521 Serene Woods Circle                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Canyon Lake                            TX       78133           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.145    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Mary Kay Holly                                                   Contingent
16911 San Pedro                                                  Unliquidated
Number 36                                                        Disputed
                                                                Basis for the claim:
San Antonio                            TX       78232           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.146    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $47,112.99
                                                                Check all that apply.
Mary L. Skaines                                                  Contingent
7270 Burns Xing                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78250-6531      ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.147    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,517.00
                                                                Check all that apply.
McAdams Emergency Medicine Assc., PA                             Contingent
MSC P.O. Box 2955                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78299           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.148    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Melissa Quinones                                                 Contingent
824 Los Surrros Rd.                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79907           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.149    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $4,542.50
                                                                Check all that apply.
Memorial Medical Center                                          Contingent
2450 S. Telshor Blvd.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Las Cruces                             NM       88011           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.150    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $14,482.29
                                                                Check all that apply.
Methodist Hospital (Greater of San Anton                         Contingent
7700 Floyd Curl Drive                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78229           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.151    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $218,715.35
                                                                Check all that apply.
Michael and Paula Kastis                                         Contingent
3017 Fall Brook Manor                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bulverde                               TX       78163           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.152    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,154,707.98
                                                                Check all that apply.
Michael Archer                                                   Contingent
226 Colwyn Pass                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78216           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.153    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,827,894.52
                                                                Check all that apply.
Michael Halay                                                    Contingent
15300 CR 261C                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Nathrop                                CO       81236           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.154    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,574,789.92
                                                                Check all that apply.
Michael Kotzur                                                   Contingent
4218 Treehouse Drive                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78222           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.155    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Michael L. Reed                                                  Contingent
P.O. Box 8033                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Ft. Worth                              TX       76145           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.156    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $25,000.00
                                                                Check all that apply.
Michael Morales                                                  Contingent
10923 West Avenue                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78213           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.157    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Michael Pilgrim                                                  Contingent
1270 N. Loop 1604 Easst                                          Unliquidated
Ste. 1101                                                        Disputed
                                                                Basis for the claim:
San Antonio                            TX       78232           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.158    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $54,000.00
                                                                Check all that apply.
Monica Castillo                                                  Contingent
1114 Mesa Blanca                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78248           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.159    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Monica Prado                                                     Contingent
9607 Novacek Blvd.                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78254           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.160    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,113,789.47
                                                                Check all that apply.
Mr. and Mrs. Robert C. Kintigh                                   Contingent
10807 Axis Crossing                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78245           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.161    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,154,707.98
                                                                Check all that apply.
Mrs. Theo Pilgrim                                                Contingent
796 SH 16 S.                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Jourdanton                             TX       78026           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.162    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $743,707.13
                                                                Check all that apply.
Ms. Cheryl Dailey                                                Contingent
c/o William C. Dailey, Jr.                                       Unliquidated
18640 Knollwood Blvd.                                            Disputed
                                                                Basis for the claim:
Monument                               CO       80132           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.163    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $554,271.33
                                                                Check all that apply.
Ms. Leigh Sibley                                                 Contingent
8333 Triple Crown                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Fair Oaks Ranch                        TX       78015           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.164    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $617,890.74
                                                                Check all that apply.
Ms. Leigh Sibley                                                 Contingent
8333 Triple Crown                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Fair Oaks Ranch                        TX       78015           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.165    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,038.00
                                                                Check all that apply.
Munoz Management Group                                           Contingent
El Paso Injury Clinic                                            Unliquidated
11450 Rojas, Ste. D17                                            Disputed
                                                                Basis for the claim:
El Paso                                TX       79936           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.166    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Nancy Elizondo                                                   Contingent
226 Woley Dr.                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78228           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.167    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,260,283.04
                                                                Check all that apply.
Nikels Living Trust                                              Contingent
Brenda Kay Nickles, Trustee                                      Unliquidated
P.O. Box 747                                                     Disputed
                                                                Basis for the claim:
McQueeney                              TX       78123           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.168    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Norberto Flores, Jr.                                             Contingent
311 W. Sayers                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78214           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.169    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $2,500.00
                                                                Check all that apply.
Omni Healthcare                                                  Contingent
P.O. Box 392455                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pittsburgh                             PA       15251-9455      MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.170    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Oscar Ortiz                                                      Contingent
6556 Aztec                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79925           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.171    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,500.00
                                                                Check all that apply.
Paesanos Parkway Imaging                                         Contingent
3603 Paesanos Parkway, Suite 110                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78231           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.172    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Pauline Smith                                                    Contingent
3047 Quakertown Drive                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           Notice Only

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.173    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,890,511.49
                                                                Check all that apply.
Pettit Living Trust                                              Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX        78230          ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.174    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $228,511.49
                                                                Check all that apply.
Pilar Lopez                                                      Contingent
109 Saltillo                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carrizo Springs                        TX        78834          ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.175    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Pilgrim Mortgage                                                 Contingent
1270 N. Loop 1604 East                                           Unliquidated
Ste. 1101                                                        Disputed
                                                                Basis for the claim:
San Antonio                            TX        78232          ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.176    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $311,495.53
                                                                Check all that apply.
Pogue & Company dba JLP Builders, Inc.                           Contingent
P.O. Box 312053                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
New Braunfels                          TX        78131-2053     ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.177    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,500.00
                                                                Check all that apply.
Premier Medical Imaging                                          Contingent
2115 Pleasanton, Ste. 102                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78221           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.178    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $3,750.00
                                                                Check all that apply.
Prestige Diagnostic Imaging                                      Contingent
11240 Vista Del Sol                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79936           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.179    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $7,408.29
                                                                Check all that apply.
Red Rock Diagnostics, LLC                                        Contingent
P.O. Box 26119                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Las Vegas                              NV       89126           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.180    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Red Rope Limited                                                 Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.181    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $279,347.16
                                                                Check all that apply.
Rhonda Mylnar                                                    Contingent
796 S. Highway 16 S.                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Jourdanton                             TX       78026           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.182    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,318,737.15
                                                                Check all that apply.
Richard and Rhonda Mylnar                                        Contingent
796 S. Highway 16 S.                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Jourdanton                             TX       78026           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.183    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $518,479.02
                                                                Check all that apply.
Richard Forsyth                                                  Contingent
3258 Bending Creek                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78261           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.184    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Richard Warncke                                                  Contingent
1618 Hillcrest                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78228           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.185    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $393,487.03
                                                                Check all that apply.
Rick L. Mylnar                                                   Contingent
796 S. Highway 16 S.                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Jourdanton                             TX       78026           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.186    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $4,031.10
                                                                Check all that apply.
Rio Health Group                                                 Contingent
6300 Gateway E                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79905           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.187    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $249.00
                                                                Check all that apply.
Rio Health Pharmacy                                              Contingent
201 E. Jackson Street                                            Unliquidated
Ste. B                                                           Disputed
                                                                Basis for the claim:
Harlingen                              TX       78550           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.188    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $206,263.10
                                                                Check all that apply.
Robbie and Beverley Henwood                                      Contingent
6315 Pickering                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78238           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.189    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Robert and Tara Jaeckle                                          Contingent
1315 Greer Street                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78210           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.190    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Robert Kintigh                                                   Contingent
10807 Access Crossing                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78257           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.191    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,112,769.15
                                                                Check all that apply.
Rosalie Ann Molina                                               Contingent
364 Big Oak Drive                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Adkins                                 TX       78101           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.192    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $333,229.09
                                                                Check all that apply.
Rosenbusch Farm & Ranch, Inc.                                    Contingent
c/o David Rosenbusch                                             Unliquidated
228 Westheim Drive                                               Disputed
                                                                Basis for the claim:
Castroville                            TX       78009           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.193    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $6,967,539.07
                                                                Check all that apply.
Sallie Mae Waclawczyk                                            Contingent
771 Linda Lou Dr.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78223           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.194    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Salvador Ortiz Irrevocable Trust                                 Contingent
29719 No Le Hace Drive                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Fair Oaks Ranch                        TX       78015           Notice Only

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.195    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Sam V. Farace, Jr./Camile J. Farace                              Contingent
Farace Living Trust                                              Unliquidated
43 Twynbrige                                                     Disputed
                                                                Basis for the claim:
San Antonio                            TX       78259           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.196    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Samantha Depoala                                                 Contingent
19218 Kelly Ave.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79938           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.197    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,162.80
                                                                Check all that apply.
San Antonio EMS                                                  Contingent
315 S. Santa Rosa Ave., #200                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78205           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.198    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $8,265.00
                                                                Check all that apply.
San Antonio Orthopedic Group                                     Contingent
19138 North US Hwy 281                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78258-1234      MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.199    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $2,116.81
                                                                Check all that apply.
San Antonio Spine & Rehab - Woodcock                             Contingent
4242 Woodcock Drive                                              Unliquidated
Suite 202                                                        Disputed
                                                                Basis for the claim:
San Antonio                            TX       78228           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.200    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $539,084.32
                                                                Check all that apply.
Sandra Dailey                                                    Contingent
18640 Knollwood Blvd.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Monument                               CO       80132           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.201    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $3,700.00
                                                                Check all that apply.
Sarah Mariscal                                                   Contingent
9222 Blazer Place                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78245           Settlement Agreement

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.202    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Scott Bishop                                                     Contingent
1270 N. Loop 1604 East                                           Unliquidated
Ste. 1101                                                        Disputed
                                                                Basis for the claim:
San Antonio                            TX       78232           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.203    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $63,880.97
                                                                Check all that apply.
Shannon Edwards                                                  Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.204    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,028,702.09
                                                                Check all that apply.
Sharon A. Brimhall                                               Contingent
7510 Fair Oaks Parkway                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Fair Oaks Ranch                        TX       78015           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.205    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Sharon A. Rakowitz                                               Contingent
527 CR 352                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Karnes City                            TX       78118           Notice Only

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.206    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,174,606.89
                                                                Check all that apply.
Sibley Living Trust                                              Contingent
c/o Leigh Sibley                                                 Unliquidated
8333 Triple Crown                                                Disputed
                                                                Basis for the claim:
Fair Oaks Ranch                        TX       78015           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.207    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $982.00
                                                                Check all that apply.
Southwest Xray                                                   Contingent
10501 Gateway Blvd. West                                         Unliquidated
Suite 140                                                        Disputed
                                                                Basis for the claim:
El Paso                                TX       79925           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.208    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Stephen E. Luna                                                  Contingent
10914 Cedar Elm                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.209    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Susana Blanco                                                    Contingent
918 S. Almendra St.                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Las Cruces                             NM       88001           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.210    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $5,616.00
                                                                Check all that apply.
SYNCB/PPC                                                        Contingent
P.O. BOX 530975                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
ORLANDO                                FL       32896           Credit Card

Date or dates debt was incurred      10/09/2018                 Is the claim subject to offset?

Last 4 digits of account number       X     X    X   X
                                                                 No
                                                                 Yes

  3.211    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Taylor Eldridge                                                  Contingent
8727 Fredericksburg Rd., Apt. 912                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78240           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.212    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Taylor Living Trust                                              Contingent
c/o Ronald Taylor                                                Unliquidated
531 County Road 1812                                             Disputed
                                                                Basis for the claim:
Clifton                                TX       76634           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.213    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $262.00
                                                                Check all that apply.
Texas Tech Physicians of El Paso                                 Contingent
P.O. Box 732556                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75373-2556      MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.214    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
The Douglas McDougal Estate and Trust                            Contingent
1304 Rodalyn                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Boerne                                 TX       78006           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.215    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
The Estate of Mary Luna Arratia                                  Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.216    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
The Estate of Schaumann                                          Contingent
11902 Rustic Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.217    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $27,979.00
                                                                Check all that apply.
The Hospitals of Providence - East Campu                         Contingent
3280 Joe Battle Blvd.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79938           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.218    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Thelma Rollins                                                   Contingent
2718 Whisper Dove St.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.219    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $942.18
                                                                Check all that apply.
Third Coast ER Physicians                                        Contingent
6300 La Calma Dr., Ste. 200                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Austin                                 TX       78752           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.220    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $393,411.20
                                                                Check all that apply.
Tom Dowling (Independent Executor)                               Contingent
Loraine LeComte Dowling Living Trust                             Unliquidated
6015 Little Brandywine Crk.                                      Disputed
                                                                Basis for the claim:
San Antonio                            TX       78233           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.221    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $2,412.50
                                                                Check all that apply.
Touchstone Imaging                                               Contingent
7220 Louis Pasteur Dr.                                           Unliquidated
Suite 115                                                        Disputed
                                                                Basis for the claim:
San Antonio                            TX       78229           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.222    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $6,570.60
                                                                Check all that apply.
Trinity Center Open MRI                                          Contingent
1110 Marshall Street                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laredo                                 TX       78045           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.223    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $244,041.00
                                                                Check all that apply.
UFS                                                              Contingent
525 Railway Street                                               Unliquidated
Suite 202                                                        Disputed
                                                                Basis for the claim:
Whitefish                              MT       59937           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.224    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,817.34
                                                                Check all that apply.
United HealthCare Services                                       Contingent
3100 AMS Boulevard                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Green Bay                              WI       54313           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.225    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $33,224.52
                                                                Check all that apply.
University Hospital                                              Contingent
4502 Medical Dr.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78229           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.226    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,931.05
                                                                Check all that apply.
University Medical Center of El Paso                             Contingent
4815 Alameda Avenue                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79905           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.227    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,448.00
                                                                Check all that apply.
University of Texas Health Science Ctr.                          Contingent
P.O. Box 759                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78293           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.228    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,102,918.24
                                                                Check all that apply.
Valerie C. Morris                                                Contingent
17323 Fountain Mist                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78248           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.229    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Valerie Rivera                                                   Contingent
13474 Everingham St.                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Paso                                TX       79928           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.230    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Vicenta Jimenez                                                  Contingent
424 Oasis Dr.                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chaparral                              NM       88081           PI Client

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.231    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,380,000.00
                                                                Check all that apply.
Wayne & Barbara Benke                                            Contingent
747 County Road 3421                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Hondo                                  TX       78861           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.232    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,517.00
                                                                Check all that apply.
Webb Emergency Medicine                                          Contingent
P.O. Box 400                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78292           MEDICAL PROVIDER

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.233    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $953,765.53
                                                                Check all that apply.
Westwood Funding Solutions                                       Contingent
4601 Sheridan Street, Suite 501                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Hollywood                              FL       33021           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.234    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $785,815.97
                                                                Check all that apply.
William C. Dailey, III                                           Contingent
2338 Navajo Circle                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bishop                                 CA       93514           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.235    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $959,392.53
                                                                Check all that apply.
William C. Dailey, Jr.                                           Contingent
18640 Knollwood Blvd.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Monument                               CO       80132           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.236    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Winnie Bongalis                                                  Contingent
806 Highgate                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Universal City                         TX       78148           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       Chris Pettit & Associates, P.C.                                        Case number (if known)      22-50591

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.237    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Yvonne Gibbens                                                   Contingent
11902 Rustin Lane                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78230           ACCOUNT BALANCE

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor        Chris Pettit & Associates, P.C.                                              Case number (if known)   22-50591

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Andrea L. Uresti Barr                                                 Line
         RMO, LLP
                                                                                     Not listed. Explain:
         12 Greenway Plaza #1100                                                      Attorney for - M. Archer


         Houston                       TX      77046


4.2      Bill Kingman                                                          Line     3.130
         Law Offices of William B. Kingman, PC
                                                                                     Not listed. Explain:
         3511 Broadway Street


         San Antonio                   TX      78209


4.3      Bill Kingman                                                          Line     3.125
         Law Offices of William B. Kingman, PC
                                                                                     Not listed. Explain:
         3511 Broadway Street


         San Antonio                   TX      78209


4.4      Bill Kingman                                                          Line      3.89
         Law Offices of William B. Kingman, PC
                                                                                     Not listed. Explain:
         3511 Broadway Street


         San Antonio                   TX      78209


4.5      Bill Kingman                                                          Line      3.80
         Law Offices of William B. Kingman, PC
                                                                                     Not listed. Explain:
         3511 Broadway Street


         San Antonio                   TX      78209


4.6      Bill Kingman                                                          Line      3.79
         Law Offices of William B. Kingman, PC
                                                                                     Not listed. Explain:
         3511 Broadway Street


         San Antonio                   TX      78209




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Debtor       Chris Pettit & Associates, P.C.                                     Case number (if known)   22-50591

 Part 3:        Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                     related creditor (if any) listed?               account number,
                                                                                                                     if any

4.7      C. John Muller IV                                           Line

         Ezekiel John Perez
                                                                           Not listed. Explain:
         CJ Muller & Associates, PLLC                                       Attorney for - Brimhall
         111 W. Sunset Road
         San Antonio                TX     78209


4.8      Craig M. Crockett                                           Line
         The Crockett Firm
                                                                           Not listed. Explain:
         5201 Camp Bowie Blvd., Suite 200                                   Attorney for - M. Reed


         Fort Worth                 TX     76107


4.9      David N. Deaconson                                          Line
         Pakis, Giotes, Page & Burleson, P.C.
                                                                           Not listed. Explain:
         400 Austin Avenue, Suite 400                                       Attorney for - Betty N. Nelson


         Waco                       TX     76701


4.10     Harrison H. Buxton II                                       Line
         Lt. Col. USAF (Retired)
                                                                           Not listed. Explain:
         P.O. Box 1195                                                      Notice Only


         Bandera                    TX     78003


4.11     James Maverick McNeel                                       Line
         F. Matthew Flores
                                                                           Not listed. Explain:
         Chamberlain, Hrdlicka, White, Williams                             Attorney for - Horan
         112 East Pecan, Suite 1450
         San Antonio                TX     78205


4.12     Jessica A. Newill / Carol W. Saxon                          Line
         Gardner Law
                                                                           Not listed. Explain:
         745 E. Mulberry Ave., Suite 500                                    Attorney for - Rakowitz


         San Antonio                TX     78212


4.13     John R. Lane, Jr. / Matthew J. Countryma                    Line

         Lane & Countryman
                                                                           Not listed. Explain:
         8526 N. New Braunfels Ave.                                         Attorney for - Ortiz


         San Antonio                TX     78217




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 Part 3:       Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                     related creditor (if any) listed?               account number,
                                                                                                                     if any

4.14     Kiernan McAlpine                                            Line

         Daspit Law Firm
                                                                           Not listed. Explain:
         440 Louisiana Street, Suite 1400                                   Attorney for - Roslyn Shields
                                                                            Estate Springing Sp.

         Houston                    TX      77002


4.15     Lee Elms                                                    Line
         Sarah R. Minter
                                                                           Not listed. Explain:
         Elms Macchia, PLLC                                                 Attorney for - Walsh
         2703 Treble Creek
         San Antonio                TX      78258


4.16     Lee Elms                                                    Line
         Sarah R. Minter
                                                                           Not listed. Explain:
         Elms Macchia, PLLC                                                 Attorney for - Benson
         2703 Treble Creek
         San Antonio                TX      78258


4.17     Marilee D. Hazel                                            Line
         Hazel Brown Law Firm, PLLC
                                                                           Not listed. Explain:
         163 W. Bridge Street                                               Attorney for - Landman


         New Braunfels              TX      78130


4.18     Michael J. Villa                                            Line
         Villa and White, LLP
                                                                           Not listed. Explain:
         1100 N.W. Loop 410, Suite 802                                      Attorney for - Hengst


         San Antonio                TX      78213


4.19     Michael L. Gayler                                           Line
         Law Office of Michael L. Gayler, PLLC
                                                                           Not listed. Explain:
         814 Arion Parkway, Suite 301                                       Attorney for - D. Persyn


         San Antonio                TX      78216-2837


4.20     Mickey Gayler                                               Line     3.192
         Law Office of Michael L. Gayler PLLC
                                                                           Not listed. Explain:
         1415 Fawn Creek


         San Antonio                TX      78248-1568




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 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                     related creditor (if any) listed?               account number,
                                                                                                                     if any

4.21     Mickey Gayler                                               Line     3.167
         Law Office of Michael L. Gayler PLLC
                                                                           Not listed. Explain:
         1415 Fawn Creek


         San Antonio                TX    78248-1568


4.22     Mickey Gayler                                               Line     3.133
         Law Office of Michael L. Gayler PLLC
                                                                           Not listed. Explain:
         1415 Fawn Creek


         San Antonio                TX    78248-1568


4.23     Mickey Gayler                                               Line      3.57
         Law Office of Michael L. Gayler PLLC
                                                                           Not listed. Explain:
         1415 Fawn Creek


         San Antonio                TX    78248-1568


4.24     Mickey Gayler                                               Line      3.30
         Law Office of Michael L. Gayler PLLC
                                                                           Not listed. Explain:
         1415 Fawn Creek


         San Antonio                TX    78248-1568


4.25     Robert H. Crane                                             Line
         1025 North Texas, Palm Plaza Suite 8
                                                                           Not listed. Explain:
         P.O. Drawer 1045                                                   Attorney for-beneficiaries-Victoria
                                                                            Diez Living Tr

         Weslaco                    TX    78596


4.26     Robert Walsh                                                Line
         The Law Offices of Robert E. Walsh
                                                                           Not listed. Explain:
         16601 Blanco Road, Ste. 214                                        Attorney for -


         San Antonio                TX    78232


4.27     Sandra Moody                                                Line

         396 Berry Oaks Dr.
                                                                           Not listed. Explain:
                                                                            Notice Only


         Bulverde                   TX    78163




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 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                     related creditor (if any) listed?               account number,
                                                                                                                     if any

4.28     Sean B. McNelis                                             Line

         McNelis + Associates, PLLC
                                                                           Not listed. Explain:
         143 W. Sunset, Suite 200                                           Attorney for - Pogue


         San Antonio                TX    78209


4.29     Wyatt Wright                                                Line
         WayneWright, LLP
                                                                           Not listed. Explain:
         5707 W. Interstate 10                                              Attorney for - Madisyn Keeney and
                                                                            Cyrene Jumamil

         San Antonio                TX    78201




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 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                        $0.00

5b. Total claims from Part 2                                                              5b.   +        $107,625,519.49


5c. Total of Parts 1 and 2                                                                5c.            $107,625,519.49
    Lines 5a + 5b = 5c.




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 Fill in this information to identify the case:
 Debtor name         Chris Pettit & Associates, P.C.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number         22-50591                                 Chapter      11                                     Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Lease Office                                    Brennan Murphy
          or lease is for and the       Las Cruces, New Mexico                          Address to be provided
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
          government contract

2.2       State what the contract       Lease of Office at 13111 Huebner                Christopher John Pettit
          or lease is for and the       Road, San Antonio, TX 78230                     11 Champions Run
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       San Antonio                         TX            78258
          government contract

2.3       State what the contract       Lease- 11902 Rustic Lane. Note: Sin  Christopher John Pettit
          or lease is for and the       Reposo has acquired the offices at   11 Champions Run
          nature of the debtor's        Rustic Lane and Honecomb and have
          interest                      leased the property to the law firm
                                        subject to the Side Letter Agmt. and
                                        reclamation rights
          State the term remaining                                           San Antonio                                   TX            78258
          List the contract
          number of any
          government contract

2.4       State what the contract       Lease-11923 Rustic Lane. Note: Sin   Christopher John Pettit
          or lease is for and the       Reposo has acquired the offices at   11 Champions Run
          nature of the debtor's        Rustic Lane and Honecomb and have
          interest                      leased the property to the law firm
                                        subject to the Side Letter Agmt. and
                                        reclamation rights
          State the term remaining                                           San Antonio                                   TX            78258
          List the contract
          number of any
          government contract


Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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Debtor       Chris Pettit & Associates, P.C.                                      Case number (if known)   22-50591



          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                parties with whom the debtor has an executory
                                                                                contract or unexpired lease

2.5       State what the contract      Lease-4118 Honecomb. Note: Sin       Christopher John Pettit
          or lease is for and the      Reposo has acquired the offices at   11 Champions Run
          nature of the debtor's       Rustic Lane and Honecomb and have
          interest                     leased the property to the law firm
                                       subject to the Side Letter Agmt. and
                                       reclamation rights
          State the term remaining                                          San Antonio                         TX        78258
          List the contract
          number of any
          government contract

2.6       State what the contract      Lease Office                             To Be Provided
          or lease is for and the      Laredo, Texas
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
          government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                     page 2
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 Fill in this information to identify the case:
 Debtor name         Chris Pettit & Associates, P.C.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number         22-50591                                                                                      Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes
2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Christopher John Pettit         11 Champions Run                                       Albert Cardenas Trust               D
                                       Number      Street
                                                                                                                                  E/F
                                                                                                                                  G

                                       San Antonio                    TX      78258
                                       City                           State   ZIP Code


2.2    Christopher John Pettit         11 Champions Run                                       Albert Cardenas Trust               D
                                       Number      Street
                                                                                                                                  E/F
                                                                                                                                  G

                                       San Antonio                    TX      78258
                                       City                           State   ZIP Code


2.3    Christopher John Pettit         11 Champions Run                                       Alberto Rodriguez                   D
                                       Number      Street
                                                                                                                                  E/F
                                                                                                                                  G

                                       San Antonio                    TX      78258
                                       City                           State   ZIP Code


2.4    Christopher John Pettit         11 Champions Run                                       Alek Alvarado                       D
                                       Number      Street
                                                                                                                                  E/F
                                                                                                                                  G

                                       San Antonio                    TX      78258
                                       City                           State   ZIP Code


2.5    Christopher John Pettit         11 Champions Run                                       Amy Pridgen                         D
                                       Number      Street
                                                                                                                                  E/F
                                                                                                                                  G

                                       San Antonio                    TX      78258
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
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          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.6   Christopher John Pettit       11 Champions Run                                  Andres Ramirez                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.7   Christopher John Pettit       11 Champions Run                                  Angel Flores                       D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.8   Christopher John Pettit       11 Champions Run                                  Angel Gonzalez                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.9   Christopher John Pettit       11 Champions Run                                  Angelita Vossler                   D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.10 Christopher John Pettit        11 Champions Run                                  Arlene Kreitz Hengst               D
                                    Number     Street                                 Trust                              E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.11 Christopher John Pettit        11 Champions Run                                  Armando Gonzalez                   D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.12 Christopher John Pettit        11 Champions Run                                  Augustine Farias                   D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code




Official Form 206H                                       Schedule H: Codebtors                                                   page 2
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          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.13 Christopher John Pettit        11 Champions Run                                  Barbara Fuller                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.14 Christopher John Pettit        11 Champions Run                                  Barbara Morales                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.15 Christopher John Pettit        11 Champions Run                                  Belinda Stanush                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.16 Christopher John Pettit        11 Champions Run                                  Betty June Krahn                   D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.17 Christopher John Pettit        11 Champions Run                                  Betty N. Nelson                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.18 Christopher John Pettit        11 Champions Run                                  Brady Wise                         D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.19 Christopher John Pettit        11 Champions Run                                  Brenda Nickels Living              D
                                    Number     Street                                 Trust                              E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code




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          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.20 Christopher John Pettit        11 Champions Run                                  Brenda O'Brien                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.21 Christopher John Pettit        11 Champions Run                                  Bruce H. Bengel                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.22 Christopher John Pettit        11 Champions Run                                  Carol Melott                       D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.23 Christopher John Pettit        11 Champions Run                                  Carolyn Oglesby                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.24 Christopher John Pettit        11 Champions Run                                  Catherine Martinez                 D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
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2.25 Christopher John Pettit        11 Champions Run                                  Charles Koch                       D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.26 Christopher John Pettit        11 Champions Run                                  Charmaigne Benson                  D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
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         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.27 Christopher John Pettit        11 Champions Run                                  Christine Dailey                   D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.28 Christopher John Pettit        11 Champions Run                                  Christine McQueary                 D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.29 Christopher John Pettit        11 Champions Run                                  Christopher Eardley                D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.30 Christopher John Pettit        11 Champions Run                                  Chrystal Simental                  D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.31 Christopher John Pettit        11 Champions Run                                  Connie F. Gonzales                 D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.32 Christopher John Pettit        11 Champions Run                                  Counsel Financial                  D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.33 Christopher John Pettit        11 Champions Run                                  Dan and Diana Ibarra               D
                                    Number     Street                                 Mendez                             E/F
                                                                                                                         G

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      Name                          Mailing address                                   Name                        that apply:

2.34 Christopher John Pettit        11 Champions Run                                  David and Helen                    D
                                    Number     Street                                 Landman                            E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.35 Christopher John Pettit        11 Champions Run                                  David Day                          D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.36 Christopher John Pettit        11 Champions Run                                  Deaja Reaves                       D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.37 Christopher John Pettit        11 Champions Run                                  Deidre Persyn                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.38 Christopher John Pettit        11 Champions Run                                  Diane P. Hengst                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.39 Christopher John Pettit        11 Champions Run                                  Dwight Marshall                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.40 Christopher John Pettit        11 Champions Run                                  Eddie and Lou Ann                  D
                                    Number     Street                                 Dreamkowski                        E/F
                                                                                                                         G

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      Name                          Mailing address                                   Name                        that apply:

2.41 Christopher John Pettit        11 Champions Run                                  Edie Tyler                         D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.42 Christopher John Pettit        11 Champions Run                                  Emily Samuel Special               D
                                    Number     Street                                 Needs Trust                        E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.43 Christopher John Pettit        11 Champions Run                                  Ernesto Chacon                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.44 Christopher John Pettit        11 Champions Run                                  Estrada Factor                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.45 Christopher John Pettit        11 Champions Run                                  Eva Corbo                          D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.46 Christopher John Pettit        11 Champions Run                                  Felicia C. Morales                 D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.47 Christopher John Pettit        11 Champions Run                                  Felicia C. Morales                 D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

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                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.48 Christopher John Pettit        11 Champions Run                                  Fernando R. Sanchez                D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.49 Christopher John Pettit        11 Champions Run                                  Frank & Emma Persyn                D
                                    Number     Street                                 Family Ltd. P.                     E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.50 Christopher John Pettit        11 Champions Run                                  Frank G.Persyn, Jr.                D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.51 Christopher John Pettit        11 Champions Run                                  Galen Lee                          D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.52 Christopher John Pettit        11 Champions Run                                  Gary Archer                        D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
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2.53 Christopher John Pettit        11 Champions Run                                  Gemaro Garcia                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
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2.54 Christopher John Pettit        11 Champions Run                                  George Pilgrim                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

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      Name                          Mailing address                                   Name                        that apply:

2.55 Christopher John Pettit        11 Champions Run                                  Gladys Stein Estate                D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.56 Christopher John Pettit        11 Champions Run                                  Gordon & Wendy                     D
                                    Number     Street                                 Kuenemann                          E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.57 Christopher John Pettit        11 Champions Run                                  Harley Elizondo                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.58 Christopher John Pettit        11 Champions Run                                  Harrison H. Buxton II              D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.59 Christopher John Pettit        11 Champions Run                                  Henry J. Persyn                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.60 Christopher John Pettit        11 Champions Run                                  Hughes Estate                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.61 Christopher John Pettit        11 Champions Run                                  Irma Castiglione and               D
                                    Number     Street                                 Eddie Molina                       E/F
                                                                                                                         G

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      Name                          Mailing address                                   Name                        that apply:

2.62 Christopher John Pettit        11 Champions Run                                  Irma Guajardo                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.63 Christopher John Pettit        11 Champions Run                                  Jacqueline Rios                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.64 Christopher John Pettit        11 Champions Run                                  Jacquie Brown                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.65 Christopher John Pettit        11 Champions Run                                  James and Adelmire                 D
                                    Number     Street                                 Nolte                              E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.66 Christopher John Pettit        11 Champions Run                                  James and Carol                    D
                                    Number     Street                                 Armstrong                          E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.67 Christopher John Pettit        11 Champions Run                                  James C. Horan                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.68 Christopher John Pettit        11 Champions Run                                  Jamie Spears                       D
                                    Number     Street                                 Montelongo                         E/F
                                                                                                                         G

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      Name                          Mailing address                                   Name                        that apply:

2.69 Christopher John Pettit        11 Champions Run                                  Jason & Ashley Forsyth             D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.70 Christopher John Pettit        11 Champions Run                                  Jeff Halay                         D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.71 Christopher John Pettit        11 Champions Run                                  Jeneva Bruce                       D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.72 Christopher John Pettit        11 Champions Run                                  Jesus Guerra Cortez                D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.73 Christopher John Pettit        11 Champions Run                                  Joann Coleman                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.74 Christopher John Pettit        11 Champions Run                                  Jose Morales Diaz                  D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.75 Christopher John Pettit        11 Champions Run                                  Jose Zuniga Linares                D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

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      Name                          Mailing address                                   Name                        that apply:

2.76 Christopher John Pettit        11 Champions Run                                  Juan Garza                         D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.77 Christopher John Pettit        11 Champions Run                                  Judy Ventura                       D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.78 Christopher John Pettit        11 Champions Run                                  Justin Burger                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.79 Christopher John Pettit        11 Champions Run                                  Justin Hebert                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.80 Christopher John Pettit        11 Champions Run                                  Karen Hengst May                   D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.81 Christopher John Pettit        11 Champions Run                                  Karen Seifert                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.82 Christopher John Pettit        11 Champions Run                                  Kathryn Dailey                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

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      Name                          Mailing address                                   Name                        that apply:

2.83 Christopher John Pettit        11 Champions Run                                  Ken & Shelli Scott                 D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.84 Christopher John Pettit        11 Champions Run                                  Ken and Joyce Locke                D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.85 Christopher John Pettit        11 Champions Run                                  Kenneth Scott                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.86 Christopher John Pettit        11 Champions Run                                  Kenneth W. Paris                   D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.87 Christopher John Pettit        11 Champions Run                                  Kiernan McAlpine                   D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.88 Christopher John Pettit        11 Champions Run                                  Krystal Garza                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.89 Christopher John Pettit        11 Champions Run                                  Laura Kubesh                       D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

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      Name                          Mailing address                                   Name                        that apply:

2.90 Christopher John Pettit        11 Champions Run                                  Lawrence Wayne                     D
                                    Number     Street                                 Hengst                             E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.91 Christopher John Pettit        11 Champions Run                                  Lee Skinner                        D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.92 Christopher John Pettit        11 Champions Run                                  Linda Bausch Nickels               D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.93 Christopher John Pettit        11 Champions Run                                  Linda Mae Wehmeyer                 D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.94 Christopher John Pettit        11 Champions Run                                  Linda Wetz                         D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.95 Christopher John Pettit        11 Champions Run                                  Louise Lacari                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.96 Christopher John Pettit        11 Champions Run                                  Luis and Maxine                    D
                                    Number     Street                                 Elizondo                           E/F
                                                                                                                         G

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      Name                          Mailing address                                   Name                        that apply:

2.97 Christopher John Pettit        11 Champions Run                                  Luis Torres Maldonado              D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

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                                    City                        State   ZIP Code


2.98 Christopher John Pettit        11 Champions Run                                  Malcolm R. Gildart                 D
                                    Number     Street                                 Irrevocable Trust                  E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
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2.99 Christopher John Pettit        11 Champions Run                                  Manfred Lee Marshall               D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

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                                    City                        State   ZIP Code


2.100 Christopher John Pettit       11 Champions Run                                  Maquir Escobar                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

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                                    City                        State   ZIP Code


2.101 Christopher John Pettit       11 Champions Run                                  Maria Rodriguez De                 D
                                    Number     Street                                 Esparza                            E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.102 Christopher John Pettit       11 Champions Run                                  Mark and Robin                     D
                                    Number     Street                                 Verstuyft                          E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.103 Christopher John Pettit       11 Champions Run                                  Mary Jane Staudt                   D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code




Official Form 206H                                       Schedule H: Codebtors                                                  page 15
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Debtor       Chris Pettit & Associates, P.C.                                       Case number (if known)   22-50591



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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.104 Christopher John Pettit       11 Champions Run                                  Mary Kay Holly                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.105 Christopher John Pettit       11 Champions Run                                  Mary L. Skaines                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.106 Christopher John Pettit       11 Champions Run                                  Melissa Quinones                   D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.107 Christopher John Pettit       11 Champions Run                                  Michael and Paula                  D
                                    Number     Street                                 Kastis                             E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.108 Christopher John Pettit       11 Champions Run                                  Michael Archer                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.109 Christopher John Pettit       11 Champions Run                                  Michael Halay                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.110 Christopher John Pettit       11 Champions Run                                  Michael Kotzur                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code




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Debtor       Chris Pettit & Associates, P.C.                                       Case number (if known)   22-50591



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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.111 Christopher John Pettit       11 Champions Run                                  Michael L. Reed                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.112 Christopher John Pettit       11 Champions Run                                  Michael Morales                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.113 Christopher John Pettit       11 Champions Run                                  Michael Pilgrim                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.114 Christopher John Pettit       11 Champions Run                                  Monica Castillo                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.115 Christopher John Pettit       11 Champions Run                                  Monica Prado                       D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.116 Christopher John Pettit       11 Champions Run                                  Mr. and Mrs. Robert C.             D
                                    Number     Street                                 Kintigh                            E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.117 Christopher John Pettit       11 Champions Run                                  Mrs. Theo Pilgrim                  D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code




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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                   Check all schedules
      Name                          Mailing address                                   Name                         that apply:

2.118 Christopher John Pettit       11 Champions Run                                  Ms. Cheryl Dailey                  D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.119 Christopher John Pettit       11 Champions Run                                  Ms. Leigh Sibley                   D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.120 Christopher John Pettit       11 Champions Run                                  Ms. Leigh Sibley                   D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.121 Christopher John Pettit       11 Champions Run                                  Nancy Elizondo                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.122 Christopher John Pettit       11 Champions Run                                  Norberto Flores, Jr.               D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.123 Christopher John Pettit       11 Champions Run                                  Oscar Ortiz                        D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.124 Christopher John Pettit       11 Champions Run                                  Pauline Smith                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code




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Debtor       Chris Pettit & Associates, P.C.                                       Case number (if known)   22-50591



          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.125 Christopher John Pettit       11 Champions Run                                  Pettit Living Trust                D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.126 Christopher John Pettit       11 Champions Run                                  Pilar Lopez                        D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.127 Christopher John Pettit       11 Champions Run                                  Pogue & Company dba                D
                                    Number     Street                                 JLP Builders, Inc.                 E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.128 Christopher John Pettit       11 Champions Run                                  Rhonda Mylnar                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.129 Christopher John Pettit       11 Champions Run                                  Richard and Rhonda                 D
                                    Number     Street                                 Mylnar                             E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.130 Christopher John Pettit       11 Champions Run                                  Richard Forsyth                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.131 Christopher John Pettit       11 Champions Run                                  Richard Warncke                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code




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Debtor       Chris Pettit & Associates, P.C.                                       Case number (if known)   22-50591



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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.132 Christopher John Pettit       11 Champions Run                                  Rick L. Mylnar                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.133 Christopher John Pettit       11 Champions Run                                  Robbie and Beverley                D
                                    Number     Street                                 Henwood                            E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.134 Christopher John Pettit       11 Champions Run                                  Robert and Tara                    D
                                    Number     Street                                 Jaeckle                            E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.135 Christopher John Pettit       11 Champions Run                                  Robert Kintigh                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.136 Christopher John Pettit       11 Champions Run                                  Rosenbusch Farm &                  D
                                    Number     Street                                 Ranch, Inc.                        E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.137 Christopher John Pettit       11 Champions Run                                  Sallie Mae Waclawczyk              D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.138 Christopher John Pettit       11 Champions Run                                  Sam V. Farace,                     D
                                    Number     Street                                 Jr./Camile J. Farace               E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code




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Debtor       Chris Pettit & Associates, P.C.                                       Case number (if known)   22-50591



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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.139 Christopher John Pettit       11 Champions Run                                  San Antonio EMS                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.140 Christopher John Pettit       11 Champions Run                                  Sandra Dailey                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.141 Christopher John Pettit       11 Champions Run                                  Sandra Moody                       D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.142 Christopher John Pettit       11 Champions Run                                  Sarah Mariscal                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.143 Christopher John Pettit       11 Champions Run                                  Scott Bishop                       D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.144 Christopher John Pettit       11 Champions Run                                  Shannon Edwards                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.145 Christopher John Pettit       11 Champions Run                                  Sharon A. Brimhall                 D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code




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Debtor       Chris Pettit & Associates, P.C.                                       Case number (if known)   22-50591



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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.146 Christopher John Pettit       11 Champions Run                                  Sharon A. Rakowitz                 D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.147 Christopher John Pettit       11 Champions Run                                  Sibley Living Trust                D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.148 Christopher John Pettit       11 Champions Run                                  Stephen E. Luna                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.149 Christopher John Pettit       11 Champions Run                                  Susana Blanco                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.150 Christopher John Pettit       11 Champions Run                                  Taylor Eldridge                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.151 Christopher John Pettit       11 Champions Run                                  Taylor Living Trust                D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.152 Christopher John Pettit       11 Champions Run                                  The Douglas McDougal               D
                                    Number     Street                                 Estate and Trust                   E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code




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Debtor       Chris Pettit & Associates, P.C.                                       Case number (if known)   22-50591



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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.153 Christopher John Pettit       11 Champions Run                                  The Estate of Mary Luna            D
                                    Number     Street                                 Arratia                            E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.154 Christopher John Pettit       11 Champions Run                                  The Estate of                      D
                                    Number     Street                                 Schaumann                          E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.155 Christopher John Pettit       11 Champions Run                                  Thelma Rollins                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.156 Christopher John Pettit       11 Champions Run                                  Tom Dowling                        D
                                    Number     Street                                 (Independent Executor)             E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.157 Christopher John Pettit       11 Champions Run                                  University Hospital                D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.158 Christopher John Pettit       11 Champions Run                                  Valerie C. Morris                  D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.159 Christopher John Pettit       11 Champions Run                                  Valerie Rivera                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code




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Debtor       Chris Pettit & Associates, P.C.                                       Case number (if known)      22-50591



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         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                     Check all schedules
      Name                          Mailing address                                   Name                           that apply:

2.160 Christopher John Pettit       11 Champions Run                                  Vicenta Jimenez                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.161 Christopher John Pettit       11 Champions Run                                  Wayne & Barbara                    D
                                    Number     Street                                 Benke                              E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.162 Christopher John Pettit       11 Champions Run                                  William C. Dailey, III             D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.163 Christopher John Pettit       11 Champions Run                                  William C. Dailey, Jr.             D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.164 Christopher John Pettit       11 Champions Run                                  Winnie Bongalis                    D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code


2.165 Christopher John Pettit       11 Champions Run                                  Yvonne Gibbens                     D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    San Antonio                 TX      78258
                                    City                        State   ZIP Code




Official Form 206H                                       Schedule H: Codebtors                                                    page 24
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 Fill in this information to identify the case:


 Debtor Name Chris Pettit & Associates, P.C.

 United States Bankruptcy Court for the:                   WESTERN DISTRICT OF TEXAS

 Case number (if known):              22-50591                                                                                                                                     Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 $0.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                              $13,803,896.02
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                               $13,803,896.02
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                    $4,000,000.00
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D......................................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F...................................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              + $107,625,519.49
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F........................................................................................................................


4.   Total liabilities
                                                                                                                                                                                           $111,625,519.49
     Lines 2 + 3a + 3b........................................................................................................................................................................




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                                             of 139
 Fill in this information to identify the case and this filing:
 Debtor Name         Chris Pettit & Associates, P.C.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number         22-50591
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:



                   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                   Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                   Schedule H: Codebtors (Official Form 206H)

                   A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                   Amended Schedule

                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                   Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on     06/30/2022                    X /s/ Christopher John Pettit
                            MM / DD / YYYY                    Signature of individual signing on behalf of debtor


                                                              Christopher John Pettit
                                                              Printed name
                                                              President
                                                              Position or relationship to debtor




Official Form 202                        Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name        Chris Pettit & Associates, P.C.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number        22-50591
 (if known)                                                                                                  Check if this is an
                                                                                                              amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

        None

Identify the beginning and ending dates of the debtor's fiscal year,          Sources of revenue                            Gross revenue
which may be a calendar year                                                  Check all that apply.                         (before deductions
                                                                                                                            and exclusions


From the beginning of the
                                From    01/01/2022      to   Filing date         Operating a business
fiscal year to filing date:
                                       MM / DD / YYYY                            Other Gross Deposits                        $11,413,000.00


For prior year:                 From    01/01/2021      to     12/31/2021        Operating a business
                                       MM / DD / YYYY        MM / DD / YYYY      Other approximately                         $43,000,000.00


For the year before that:       From    01/01/2020      to     12/31/2020        Operating a business
                                       MM / DD / YYYY        MM / DD / YYYY      Other tax returns                           $45,716,357.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                               Description of sources of revenue             Gross revenue
                                                                                                                             from each source
                                                                                                                             (before deductions
                                                                                                                             and exclusions
From the beginning of the
                                From    01/01/2022      to   Filing date       Christopher John Pettit                              $286,500.00
fiscal year to filing date:
                                       MM / DD / YYYY

For prior year:                 From    01/01/2021      to     12/31/2021      Christopher John Pettit                              $325,990.00
                                       MM / DD / YYYY        MM / DD / YYYY

For the year before that:       From    01/01/2020      to     12/31/2020      Christopher John Pettit (approx)                     $600,000.00
                                       MM / DD / YYYY        MM / DD / YYYY




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               Name


 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
     adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)


        None

      Creditor's name and address                                 Dates            Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply
3.1. Various Creditors                                            An
      Creditor's name                                             accounting                                       Secured debt

                                                                  of                                               Unsecured loan repayments
      Street
                                                                  payments                                         Suppliers or vendors

                                                                  made                                             Services
                                                                  within 90                                        Other
      City                              State   ZIP Code
                                                                  days is
                                                                  being
                                                                  prepared,
                                                                  but
                                                                  comprehen
                                                                  sive
                                                                  information
                                                                  is not
                                                                  currently
                                                                  available
                                                                  and will be
                                                                  supplmene
                                                                  ted upon
                                                                  completion
                                                                  of the
                                                                  accounting,
                                                                  to be
                                                                  provided as
                                                                  amendmen
                                                                  t to SOA 2.3
                                                                  as soon as
                                                                  available.
4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


        None

      Insider's name and address                                  Dates            Total amount or value       Reasons for payment or transfer
4.1. Christopher John Pettit                                                                                   An analysis of all payments
      Insider's name                                                                                           within 1 year to insiders is being
      11 Champions Run                                                                                         made - SOA 2.4 will be
      Street
                                                                                                               supplemented once information
                                                                                                               is available
      San Antonio                       TX      78258
      City                              State   ZIP Code

      Relationship to debtor
      President




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               Name

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.


        None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.


        None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.


        None

      Case title                             Nature of case                             Court or agency's name and address                Status of case
7.1. Deidre Persyn v. Chris Pettit,          Collection of Debt                         285th District Court, Bexar County
      Individually and Chris Pettit,                                                    Name                                                 Pending

      as Escrow Agent of Chris                                                                                                               On appeal
      Pettit & Associates                                                               Street
                                                                                                                                             Concluded

      Case number
      2020-CI23605
                                                                                        City                      State   ZIP Code

      Case title                             Nature of case                             Court or agency's name and address                Status of case
7.2. Dr. Salvador Ortiz and                  Collection of Debt                         438th District Court, Bexar County
     Salvador Ortiz Irrevocable                                                         Name                                                 Pending

     Trust v. Chris Pettit &                                                                                                                 On appeal
     Associates, P.C. and                                                               Street
     Christopher J. Pettit                                                                                                                   Concluded

      Case number
      2021-CI-19113
                                                                                        City                      State   ZIP Code

      Case title                             Nature of case                             Court or agency's name and address                Status of case
7.3. Robert E. Walsh, Trustee on                                                        45th District Court, Bexar County
      behalf of Charmaign Young                                                         Name                                                 Pending

      Benson Irrevocable Trust v.                                                                                                            On appeal
      Christopher Pettit,                                                               Street
      individually as former                                                                                                                 Concluded
      Trustee of the Charmaigne
      Young Benson Irrevocable
      Trust                                                                             City                      State   ZIP Code
      Case number
      2022-CI-06516




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Debtor       Chris Pettit & Associates, P.C.                                        Case number (if known)    22-50591
             Name

      Case title                       Nature of case                        Court or agency's name and address          Status of case
7.4. Sharon A. Brimhall,               Collection of Debt                    45th District Court, Bexar County
      Individually and as Executor                                           Name                                           Pending

      of the Estate of Harry A.                                                                                             On appeal
      Sims and Dollar H                                                      Street
      Opportunities, LLC v. Chris                                                                                           Concluded
      Pettit and Associates, P.C.
      and Christopher J. Pettit,
      Individually                                                           City                     State   ZIP Code
      Case number
      2022-CI-06852

      Case title                       Nature of case                        Court or agency's name and address          Status of case
7.5. James Craig Horan and             Collection of Debt                    73rd District Court, Bexar County
     Gennifer Horan v. Chris                                                 Name                                           Pending

     Pettit & Associates, P.C. and                                                                                          On appeal
     Christopher J. Pettit                                                   Street
                                                                                                                            Concluded

      Case number
      2022-CI-06069
                                                                             City                     State   ZIP Code

      Case title                       Nature of case                        Court or agency's name and address          Status of case
7.6. Arlene Kreitz Hengst Trust,       Collection of Debt                    438th District Court, Bexar County
      Karen KEngst May, Dianne P.                                            Name                                           Pending

      Hengst and Lawrence                                                                                                   On appeal
      Wayne Hengst v. Chris Pettit                                           Street
      & Associates, P.C. and                                                                                                Concluded
      Christopher J. Pettit
      Case number
      2022-CI-09275                                                          City                     State   ZIP Code

      Case title                       Nature of case                        Court or agency's name and address          Status of case
7.7. Pogue & Company dba JLP           Collection of Debt                    45th District Court, Bexar County
      Builders, Inc. and Jimmie                                              Name                                           Pending

      Pogue, Plaintiffs, and David                                                                                          On appeal
      M. Landman and Helen E.                                                Street
      Landman, Intervenors v.                                                                                               Concluded
      Christopher J. Pettit and
      Chris Pettit & Associates,
      P.C.                                                                   City                     State   ZIP Code
      Case number
      2022-CI-03908

      Case title                       Nature of case                        Court or agency's name and address          Status of case
7.8. Frank and Emma Persyn             Collection of Debt                    285th District Court, Bexar County
      Family Limited Partnership,                                            Name                                           Pending

      Henry J. Persyn, Frank G.                                                                                             On appeal
      Persyn, Jr., Laura Kubesh                                              Street
      and Leslie Ann Persyn v.                                                                                              Concluded
      Christopher J. Pettit and
      Chris Pettit & Associtaes,
      P.C.                                                                   City                     State   ZIP Code
      Case number
      2022-CI-09416




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             Name

      Case title                            Nature of case                            Court or agency's name and address              Status of case
 7.9. Charmaigne Benson v.                                                            408th District Court, Bexar County
      Christopher Pettit,                                                             Name                                               Pending

      Individually, and Chris Pettit                                                                                                     On appeal
      and Associates                                                                  Street
                                                                                                                                         Concluded

      Case number
      2022-CI-08737
                                                                                      City                      State   ZIP Code

      Case title                            Nature of case                            Court or agency's name and address              Status of case
7.10. Sharon Rakowitz,                      Collection of Debt                        In the Probate Court No. 1, Bexar County
      individually and as General                                                     Name                                               Pending

      Partner and Limited Partner                                                                                                        On appeal
      of Bossy R, LP, Karen Varns,                                                    Street
      Agnes Mae Hartman and                                                                                                              Concluded
      Peter Rakowitz v.
      Christopher J. Pettit and
      Chris Pettit & Associates,                                                      City                      State   ZIP Code
      P.C.
      Case number
      22-PC-01235

      Case title                            Nature of case                            Court or agency's name and address              Status of case
7.11. Michael L. Reed v.                    Collection of Debt                        17th District Court, Tarrant County
      Christopher J. Pettit,                                                          Name                                               Pending

      individually, and d/ba The                                                                                                         On appeal
      Law Office of Christopher J.                                                    Street
      Pettit and Associates                                                                                                              Concluded

      Case number
      017-333310-22
                                                                                      City                      State   ZIP Code

      Case title                            Nature of case                            Court or agency's name and address              Status of case
7.12. Michael Archer v.                                                               45th District Court, Bexar County, Texas
      Christopher J. Pettit and                                                       Name                                               Pending

      Chris Pettit & Associates,                                                                                                         On appeal
      P.C.                                                                            Street
                                                                                                                                         Concluded

      Case number
      2022-CI-08566
                                                                                      City                      State   ZIP Code

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

        None




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                Name


 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

         None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         None

Description of the property lost and how           Amount of payments received for the loss                     Date of loss     Value of
the loss occurred                                  If you have received payments to cover the loss, for                          property lost
                                                   example, from insurance, government compensation, or
                                                   tort liability, list the total received.
                                                   List unpaid claims on Official Form 206A/B (Schedule A/B:
                                                   Assets -- Real and Personal Property).
An unknown number of client files,                                                                              March 2022
computers, furniture, were removed
from Debtor's office by B. Walsh, R.
Walsh and S. San Miguel Astin who
upon information and belief assumed
control over those files without
permission or authority by Debtor.
Value of property lost - unknown

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.


         None

         Who was paid or who received the transfer?           If not money, describe any property             Dates               Total amount
                                                              transferred                                                         or value
 11.1. Martin & Drought, P.C.                                 Retainer - Bankruptcy for Chris Pettit          05/16/2022             $20,000.00
                                                              & Associates
         Address

         Weston Centre
         Street
         112 East Pecan Street
         San Antonio                 TX      78205
         City                        State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?
         Chris Pettit




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                Name

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


         None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.


         None

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.1. Salvador Ortiz Irrevocable Trust                        Settlement of lawsuit/payments                   Jan/April 2022      $13,800,000.00
                                                               were made out of closing proceeds
         Address                                               with Sin Reposo transactions
         29719 No Le Hace Drive                                relating to transfer of real property
         Street                                                subject to rights of redemption of
                                                               property owned by C. Pettit
         Fair Oaks Ranch              TX      78015            individually or from property owned
         City                         State   ZIP Code         by entities owned by C. Pettit.

         Relationship to debtor
         Creditor

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.2. Judy Herman                                             Used to pay claims overseen by B.                __________            $500,000.00
                                                               Walsh
         Address

         ___________
         Street
         ____________

         ___________
         City                         State   ZIP Code

         Relationship to debtor
         ________________

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.3. Sharon A. Brimhall                                      Payment - in settlement overseen by              February 2022         $675,000.00
                                                               B. Walsh
         Address

         7510 Fair Oaks Parkway
         Street


         Fair Oaks Ranch              TX      78015
         City                         State   ZIP Code

         Relationship to debtor
         Creditor




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                Name

         Who received transfer?                                   Description of property transferred       Date transfer     Total amount
                                                                  or payments received or debts paid        was made          or value
                                                                  in exchange

 13.4. Sharon Rakowitz                                            Bossy R's Ltd. - in settlment of claim    December 2021          $950,000.00
                                                                  overseen by B. Walsh
         Address

         527 CR 352
         Street


         Karnes City                   TX       78118
         City                          State    ZIP Code

         Relationship to debtor



         Who received transfer?                                   Description of property transferred       Date transfer     Total amount
                                                                  or payments received or debts paid        was made          or value
                                                                  in exchange

 13.5. Debtor is review its files                                 Debtor is reviewing its files to
                                                                  determine additional transfers made
         Address                                                  within 2 years not already listed

         Street




         City                          State    ZIP Code

         Relationship to debtor



 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         Does not apply


 Part 8:          Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

      diagnosing or treating injury, deformity, or disease, or

      providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

 Part 9:          Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained

                  Does the debtor have a privacy policy about that information?
                   No.
                   Yes.




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17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                No. Go to Part 10.
                Yes. Fill in below:
 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.


         None

         Financial institution name and address         Last 4 digits of              Type of account       Date account        Last balance
                                                        account number                                      was closed,         before closing
                                                                                                            sold, moved,        or transfer
                                                                                                            or transferred
 18.1. Winter Park Bank
         Name
                                                        XXXX- 6        8    3    4        Checking              12/2021
         Street                                                                           Savings
                                                                                          Money market
                                                                                          Brokerage
                                                                                          Other

         City                    State   ZIP Code

         Financial institution name and address         Last 4 digits of              Type of account       Date account        Last balance
                                                        account number                                      was closed,         before closing
                                                                                                            sold, moved,        or transfer
                                                                                                            or transferred
 18.2. Winter Park Bank
         Name
                                                        XXXX- 1        6    8    0        Checking              12/2021
         Street                                                                           Savings
                                                                                          Money market
                                                                                          Brokerage
                                                                                          Other Operating

         City                    State   ZIP Code

         Financial institution name and address         Last 4 digits of              Type of account       Date account        Last balance
                                                        account number                                      was closed,         before closing
                                                                                                            sold, moved,        or transfer
                                                                                                            or transferred
 18.3. Winter Park Bank
         Name
                                                        XXXX- 2        2    1    7        Checking              12/2021
         Street                                                                           Savings
                                                                                          Money market
                                                                                          Brokerage
                                                                                          Other Trust

         City                    State   ZIP Code




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           Financial institution name and address                Last 4 digits of             Type of account      Date account         Last balance
                                                                 account number                                    was closed,          before closing
                                                                                                                   sold, moved,         or transfer
                                                                                                                   or transferred
 18.4. Winter Park Bank
           Name
                                                                 XXXX- 2      2     1   7        Checking              12/2021
           Street                                                                                Savings
                                                                                                 Money market
                                                                                                 Brokerage
                                                                                                 Other Trust

           City                      State     ZIP Code

           Financial institution name and address                Last 4 digits of             Type of account      Date account         Last balance
                                                                 account number                                    was closed,          before closing
                                                                                                                   sold, moved,         or transfer
                                                                                                                   or transferred
 18.5. Texas Star
           Name
                                                                 XXXX- 1      4     6   5        Checking              02/2021
           Street                                                                                Savings
                                                                                                 Money market
                                                                                                 Brokerage
                                                                                                 Other Expense

           City                      State     ZIP Code

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

           None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

           None

Facility name and address                                 Names of anyone with access to it       Description of the contents            Does debtor
                                                                                                                                         still have it?
_____________                                                                                     Debtor maintained storage                 No
Name                                                                                              facilities - to be identified later
                                                          Address                                                                           Yes

Street




City                        State   ZIP Code




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              Name


  Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


          None

Owner's name and address                       Location of the property                      Description of the property        Value

The Estate of Mary Luna Arratia                Within Trust or IOLTA Accounts       In various capacities as                            $1.00
Name                                                                                attorney, trustee, or
                                               maintained by Chris Pettit & Associates
                                                                                    otherwise there were
11902 Rustic Lane
Street                                                                              various accounts, trusts or
                                                                                    other devices that were
                                                                                    held or "controlled" - the
                                                                                    account balances are
San Antonio              TX      78230
City                     State   ZIP Code                                           uncertain and are
                                                                                    temporarily listed at $1.00
                                                                                    until an accounting review
                                                                                    may be finalized
Owner's name and address                       Location of the property                      Description of the property        Value

Arlene Becker                                  Within Trust or IOLTA Accounts       In various capacities as                            $1.00
Name                                                                                attorney, trustee, or
                                               maintained by Chris Pettit & Associates
                                                                                    otherwise there were
504 Schweppe St.
Street                                                                              various accounts, trusts or
                                                                                    other devices that were
                                                                                    held or "controlled" - the
                                                                                    account balances are
Boerne                   TX      78006
City                     State   ZIP Code                                           uncertain and are
                                                                                    temporarily listed at $1.00
                                                                                    until an accounting review
                                                                                    may be finalized
Owner's name and address                       Location of the property                      Description of the property        Value

Wayne & Barbara Benke                          Within Trust or IOLTA Accounts       In various capacities as                            $1.00
Name                                                                                attorney, trustee, or
                                               maintained by Chris Pettit & Associates
                                                                                    otherwise there were
6850 Talley Road
Street                                                                              various accounts, trusts or
                                                                                    other devices that were
                                                                                    held or "controlled" - the
                                                                                    account balances are
San Antonio              TX      78253
City                     State   ZIP Code                                           uncertain and are
                                                                                    temporarily listed at $1.00
                                                                                    until an accounting review
                                                                                    may be finalized
Owner's name and address                       Location of the property                      Description of the property        Value

Travis & Debra Benke                           Within Trust or IOLTA Accounts       In various capacities as                            $1.00
Name                                                                                attorney, trustee, or
                                               maintained by Chris Pettit & Associates
                                                                                    otherwise there were
501 CR 324
Street                                                                              various accounts, trusts or
                                                                                    other devices that were
                                                                                    held or "controlled" - the
                                                                                    account balances are
Hondo                    TX      78861
City                     State   ZIP Code                                           uncertain and are
                                                                                    temporarily listed at $1.00
                                                                                    until an accounting review
                                                                                    may be finalized




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Debtor       Chris Pettit & Associates, P.C.                                        Case number (if known)   22-50591
             Name

Owner's name and address                    Location of the property                   Description of the property      Value

Eardley, Virginia Estate                    Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11902 Rustic Lane
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Estrada/Factor                              Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11902 Rustic Lane
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Jason Forsyth                               Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
3258 Bending Creek
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78261
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Malcolm R. Gildart Irrevocable Trust        Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11902 Rustic Lane
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized




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Debtor       Chris Pettit & Associates, P.C.                                        Case number (if known)   22-50591
             Name

Owner's name and address                    Location of the property                   Description of the property      Value

Connie Gonzales                             Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11200 Perrin Bietel Road
Street                                                                           various accounts, trusts or
No. 123                                                                          other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78217
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Diane P. Hengst                             Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
15611 Thrush Gate Lane
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78248
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Mary Kay Holly                              Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
16911 San Pedro
Street                                                                           various accounts, trusts or
No. 36                                                                           other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78232
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Yvonne Gibbens                              Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11902 Rustic Lane
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized




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Debtor       Chris Pettit & Associates, P.C.                                        Case number (if known)   22-50591
             Name

Owner's name and address                    Location of the property                   Description of the property      Value

Hughes Estate                               Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11902 Rustic Lane
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Dan Mendez and Diana Ibarra Mendez Within Trust or IOLTA Accounts                In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
2313 Lockhill Selma Rd.
Street                                                                           various accounts, trusts or
Suite 253                                                                        other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Rose Valdez-Jackson Living Trust            Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11902 Rustic Lane
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Gary Jackson Living Trust                   Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11902 Rustic Lane
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized




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Debtor       Chris Pettit & Associates, P.C.                                        Case number (if known)   22-50591
             Name

Owner's name and address                    Location of the property                   Description of the property      Value

Robert and Tara Jaeckle                     Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
1315 Greer Street
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78210
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Robert Kintigh                              Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
10807 Access Crossing
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78257
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Betty Krahn                                 Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
6870 Heuermass Road
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78256
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Kuenemann                                   Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
409 Riviera Way
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
Canyon Lake            TX      78133
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized




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Debtor       Chris Pettit & Associates, P.C.                                        Case number (if known)   22-50591
             Name

Owner's name and address                    Location of the property                   Description of the property      Value

Landman                                     Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
2041 Oxbow Circle
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
New Braunfels          TX      78130
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Galen Lee                                   Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
27933 Bonn Mountain Street
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Louise Lacari                               Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11902 Rustic Lane
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Ken and Joyce Locke                         Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
3303 Sable Creek
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78259
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized




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Debtor       Chris Pettit & Associates, P.C.                                        Case number (if known)   22-50591
             Name

Owner's name and address                    Location of the property                   Description of the property      Value

M&M/Monterrosa                              Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11902 Rustic Lane
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Oscar Martinez Irrevocable Trust            Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11902 Rustic Lane
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Christine McQueary                          Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
13514 Carlton Oaks
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78232
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

James C. Horan                              Within Trust or IOLTA Accounts     In various capacities as                         $1.00
Name                                                                           attorney, trustee, or
                                          maintained by Chris Pettit & Associates
                                                                               otherwise there were
19 Angel Dove Pl.
Street                                                                         various accounts, trusts or
                                                                               other devices that were
                                                                               held or "controlled" - the
                                                                               account balances are
The Woodlands          TX      77382-2730
City                   State   ZIP Code                                        uncertain and are
                                                                               temporarily listed at $1.00
                                                                               until an accounting review
                                                                               may be finalized




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Debtor       Chris Pettit & Associates, P.C.                                        Case number (if known)   22-50591
             Name

Owner's name and address                    Location of the property                   Description of the property      Value

Douglas McDoubal Estate and Trust           Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
1304 Rodalyn
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
Boerne                 TX      78006
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Carol Melott                                Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
27933 Benn Mountain Street
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78260
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Barbara Morales                             Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
143 Summertime Drive
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78216
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Michael Morales                             Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
10923 West Avenue
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78213
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized




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Debtor        Chris Pettit & Associates, P.C.                                        Case number (if known)   22-50591
              Name

Owner's name and address                     Location of the property                   Description of the property      Value

Amy Pridgen                                  Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                              attorney, trustee, or
                                             maintained by Chris Pettit & Associates
                                                                                  otherwise there were
11902 Rustic Lane
Street                                                                            various accounts, trusts or
                                                                                  other devices that were
                                                                                  held or "controlled" - the
                                                                                  account balances are
San Antonio             TX      78230
City                    State   ZIP Code                                          uncertain and are
                                                                                  temporarily listed at $1.00
                                                                                  until an accounting review
                                                                                  may be finalized
Owner's name and address                     Location of the property                   Description of the property      Value

Sharon A. Rakowitz                           Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                              attorney, trustee, or
                                             maintained by Chris Pettit & Associates
                                                                                  otherwise there were
527 CR 352
Street                                                                            various accounts, trusts or
                                                                                  other devices that were
                                                                                  held or "controlled" - the
                                                                                  account balances are
Karnes City             TX      78118
City                    State   ZIP Code                                          uncertain and are
                                                                                  temporarily listed at $1.00
                                                                                  until an accounting review
                                                                                  may be finalized
Owner's name and address                     Location of the property                   Description of the property      Value

Red Rope Limited Parternship                 Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                              attorney, trustee, or
                                             maintained by Chris Pettit & Associates
                                                                                  otherwise there were
11902 Rustic Lane
Street                                                                            various accounts, trusts or
                                                                                  other devices that were
                                                                                  held or "controlled" - the
                                                                                  account balances are
San Antonio             TX      78230
City                    State   ZIP Code                                          uncertain and are
                                                                                  temporarily listed at $1.00
                                                                                  until an accounting review
                                                                                  may be finalized
Owner's name and address                     Location of the property                   Description of the property      Value

Rosenbusch Farm & Ranch, Inc.                Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                              attorney, trustee, or
                                             maintained by Chris Pettit & Associates
                                                                                  otherwise there were
c/o David Rosenbusch
Street                                                                            various accounts, trusts or
228 Westheim Drive                                                                other devices that were
                                                                                  held or "controlled" - the
                                                                                  account balances are
Castroville             TX      78009
City                    State   ZIP Code                                          uncertain and are
                                                                                  temporarily listed at $1.00
                                                                                  until an accounting review
                                                                                  may be finalized




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Debtor       Chris Pettit & Associates, P.C.                                        Case number (if known)   22-50591
             Name

Owner's name and address                    Location of the property                   Description of the property      Value

The Estate of Schaumann                     Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11902 Rustic Lane
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Kenneth Scott                               Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
2702 Prague
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Betty N. Nelson                             Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11639-2 Bolero Circle
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Brenda O'Brien                              Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
205 West Street
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
Bayside                TX      78340
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized




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Debtor       Chris Pettit & Associates, P.C.                                        Case number (if known)   22-50591
             Name

Owner's name and address                    Location of the property                   Description of the property      Value

The Estate of Harry Sims                    Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
c/o Sharon A. Brimhall
Street                                                                           various accounts, trusts or
7510 Fair Oaks Parkway                                                           other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
Fair Oaks Ranch        TX      78015
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Mary L. Skaines                             Within Trust or IOLTA Accounts     In various capacities as                         $1.00
Name                                                                           attorney, trustee, or
                                          maintained by Chris Pettit & Associates
                                                                               otherwise there were
7270 Burns Xing
Street                                                                         various accounts, trusts or
                                                                               other devices that were
                                                                               held or "controlled" - the
                                                                               account balances are
San Antonio            TX      78230-6531
City                   State   ZIP Code                                        uncertain and are
                                                                               temporarily listed at $1.00
                                                                               until an accounting review
                                                                               may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Lee Skinner                                 Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
2792 W. Peppercorn Circle
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
Taylorsville           UT      84129
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Mary Jane Staudt                            Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
521 Serene Woods Circle
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
Canyon Lake            TX      78133
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized




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Debtor       Chris Pettit & Associates, P.C.                                        Case number (if known)   22-50591
             Name

Owner's name and address                    Location of the property                   Description of the property      Value

Gladys Stein Estate                         Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
11902 Rustic Lane
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78230
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Linda Mae Wehmeyer                          Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
5708 Goldstone Court
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
Mustang                OK      73064
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Richard Warncke                             Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
1618 Hillcrest
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
San Antonio            TX      78228
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Angelita Vossler                            Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
2222 Saxon
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
Houston                TX      77018
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized




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Debtor       Chris Pettit & Associates, P.C.                                        Case number (if known)   22-50591
             Name

Owner's name and address                    Location of the property                   Description of the property      Value

Edie Tyler                                  Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
12312 Edwards Hollow Run
Street                                                                           various accounts, trusts or
                                                                                 other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
Austin                 TX      78739
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

Taylor Living Trust                         Within Trust or IOLTA Accounts       In various capacities as                       $1.00
Name                                                                             attorney, trustee, or
                                            maintained by Chris Pettit & Associates
                                                                                 otherwise there were
c/o Ronald Taylor
Street                                                                           various accounts, trusts or
531 County Road 1812                                                             other devices that were
                                                                                 held or "controlled" - the
                                                                                 account balances are
Clifton                TX      76634
City                   State   ZIP Code                                          uncertain and are
                                                                                 temporarily listed at $1.00
                                                                                 until an accounting review
                                                                                 may be finalized
Owner's name and address                    Location of the property                   Description of the property      Value

_________________________                                                              NOTE: Debtor is continuing
Name                                                                                   efforts to
                                                                                       obtain client/creditor
Street                                                                                 information will complete
                                                                                       upon availability of
                                                                                       supplemental information

City                   State   ZIP Code




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Debtor       Chris Pettit & Associates, P.C.                                                Case number (if known)     22-50591
             Name


 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

 Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
  the medium affected (air, land, water, or any other medium).


 Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
  formerly owned, operated, or utilized.

 Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
  similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

        No
        Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

        No
        Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

        No
        Yes. Provide details below.

 Part 13:       Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

        None

26. Books, records, and financial statements

     26a.   List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                None

                Name and address                                                                    Dates of service

      26a.1. John Buxie                                                                             From        2013          To     Present
                Name
                John Buxie, CPA, PC
                Street
                12915 Jones Maltsburger #101

                San Antonio                                    TX         78247
                City                                           State      ZIP Code




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             Name

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

               None

     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

               None

     26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

               None

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

        No.
        Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                     Address                                      Position and nature of any interest         % of interest, if any

Chris Pettit                             11 Champions Run                             President                                           100%
                                         San Antonio, TX 78258
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

        No
        Yes. Identify below.

Name                                     Address                                      Position and nature of        Period during which position
                                                                                      any interest                  or interest was held
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

        No
        Yes. Identify below.

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

        No
        Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

        No
        Yes. Identify below.




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Debtor        Chris Pettit & Associates, P.C.                                            Case number (if known)    22-50591
              Name


 Part 14:       Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on    06/30/2022
              MM / DD / YYYY



X /s/ Christopher John Pettit                                                     Printed name Christopher John Pettit
    Signature of individual signing on behalf of the debtor

    Position or relationship to debtor President


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
   Yes




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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                SAN ANTONIO DIVISION
In re Chris Pettit & Associates, P.C.                                                                                               Case No.           22-50591

                                                                                                                                    Chapter            11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                              $20,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                             $20,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                      Debtor                                   Other (specify)
                                                                 Chris Pettit

3. The source of compensation to be paid to me is:
                      Debtor                                   Other (specify)
                                                                 Chris Pettit

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

          I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   2004 Exam, exemption objections, contested and/or adversary matters




                                                            CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


           06/30/2022
                                                      /s/ MICHAEL G. COLVARD
                        Date                          MICHAEL G. COLVARD                         Bar No. 04629200
                                                      Martin & Drought, P.C.
                                                      Weston Centre
                                                      112 East Pecan Street
                                                      Suite 1616
                                                      San Antonio, TX 78205
                                                      Phone: (210) 227-7591 / Fax: (210) 227-7924




   /s/ Christopher John Pettit
   Christopher John Pettit
   President
